          Case 21-20687          Doc 11 Filed 07/16/21 Entered 07/16/21 19:21:10                       Page 1 of 50
                                  UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT
                                         HARTFORD DIVISION



            In re:                                               Chapter 11

            THE NORWICH ROMAN CATHOLIC                           Case No: 21-20687 (JJT)
            DIOCESAN CORPORATION,1

                                      Debtor.


                                                LIST OF CREDITORS




1
 The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, a/k/a The Roman Catholic Diocese of
Norwich. The last four digits of the Debtor’s federal tax identification number are 7373.
72 DEGREESCase     21-20687 ANDDoc
             AIR CONDITIONING        11   Filed 07/16/21
                                           A BETTER CHOICE Entered 07/16/21 19:21:10    Page 2 of 50
                                                                               A&D TREE SERVICE
HEATING                                   WOMEN'S CENTER OF MIDDLETOWN           3 HARBOR RD
43 WEST MAIN ST.                          180 E. MAIN STREET                     COLCHESTER, CT 06415
BALTIC, CT 06330                          MIDDLETOWN, CT 06457




AA LOCK AND KEY                           ACA                                    ACADEMY OF THE HOLY FAMILY
1055 COLONEL LEDYARD HWY                  197 BROADWAY                           54 WEST MAIN ST.
LEDYARD, CT 06339                         NORWICH, CT 06360-4488                 BALTIC, CT 06330




ACCO BRANDS DIRECT                        ACCUFUND                               ACTS CT
PO BOX 400                                103 4TH STREET, SUITE 110              PO BOX 904
SIDNEY, NY 13838-0400                     SUITE 110                              COVENTRY, CT 06238

                                          CASTLE ROCK, CO 80104



ADDMHRI                                   ADELMAN SAND & GRAVEL, INC.            ADMINISTRATOR UNEMPLOYMENT
153 ASH STREET                            34 BOZRAH STREET                       COMPENSATION
MANCHESTER, NH 03104                      BOZRAH, CT 06334                       DEPARTMENT OF LABOR
                                                                                 PO BOX 30289
                                                                                 HARTFORD, CT 06150-289



ADRIAN HAMERS, INC.                       ADVANCE AUTO PARTS                     ADVANCED COPY TECHNOLOGIES INC
2 MADISON AVE                             AAP FINANCIAL SERVICES                 20 COMMERCE DR
LARCHMONT, NY 10538                       PO BOX 742063                          CROMWELL, CT 06416
                                          ATLANTA, GA 30374-2063




ADVANCED POWER EQUIPMENT                  AETNA U.S. HEALTHCARE AETNA LIFE INS   AFLAC
253 BOSTON POST RD                        AETNA MIDDLETOWN                       REMITTANCE PROCESSING CENTER
EAST LYME, CT 06333                       PO BOX 532422                          1932 WYNNTON ROAD
ATLANTA, GA 30353-2422                                                           COLUMBUS, GA 31999-0797




AGJO PRINTING                             AHERN, REV. THOMAS                     AID TO THE CHURCH IN NEED
173 SOUTH BROAD ST.                       [ADDRESS REDACTED]                     725 LEONARD STREET
PAWCATUCK, CT 06379                                                              PO BOX 220384
BROOKLYN, NY 11222




ALBAMONTI, REV. RICHARD J.                ALETHEAN GROUP                         ALEXANDER BAYNE, CONSULTING
[ADDRESS REDACTED]                        172 WOODHULL ROAD                      100 PEARL ST 14TH FLOOR
HUNTINGTON, NY 11375                                                             HARTFORD, CT 06103




ALICE PUDVAH                              ALICIA MELLUZZO                        ALISON BERGER
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                     [ADDRESS REDACTED]




ALISON SALAFIA                            ALL HALLOWS’ CHURCH, MOOSUP,           ALL SAINTS’ CHURCH OF SOMERSVILLE
[ADDRESS REDACTED]                        CONNECTICUT                            25 SCHOOL ST
33 WESTT STREET                                                                  SOMERSVILLE, CT 06072
ROCKVILLE, CT 06066
            Case 21-20687
ALL WASTE, INC.                 Doc 11   Filed
                                          ALLAN07/16/21    Entered 07/16/21 19:21:10
                                                REPORTING SERVICES             ALL-TIME Page 3 of 50
PO BOX 2472                              49 LONG VIEW DRIVE                   BRIDGE STREET
HARTFORD, CT 06146                       SIMSBURY, CT 06070                   MONTVILLE, CT 06353




ALPHA TRAVEL AGENCY, INC.                AMAZING HERO ART, LLC                AMERICAN BIBLE SOCIETY
525 MAIN STREET                          PO BOX 5                             1865 BROADWAY
WORCESTER, MA 01608                      ANDOVER, MA 01810                    NEW YORK, NY 10023




AMEROPEAN CORPORATION                    AMWAY GRAND PLAZA HOTEL              ANDREA L. DEPAOLA
50 WHITNEY RIDGE TERRACE                 187 MONROE NW                        [ADDRESS REDACTED]
NORTH HAVEN, CT 06473                    GRAND RAPIDS, MI 49503




ANDREWS OIL COMPANY/GAS SERVICES         ANDREWS OIL COMPANY/GAS SERVICES      ANESTHESIOLOGISTS OF MIDDLETOWN PC
136 RYE STREET                           4 COLBY DRIVE                         145 S MAIN ST
SOUTH WINDSOR, CT 06074                  LEDYARD, CT 06339                     MIDDLETOWN, CT 06457




ANGOTTI, JOHN B                          ANGULO, ANGELA                       ANN MARIE OSOWSKI
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ANN RICCA                                ANN SHEEDY                           ANNE KING
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ANNE PAPPALARDO                          ANNE STAEBNER                        ANNETTE HANRAHAN
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ANTHONY HUDSON                           ANTOCH, SHEREE L.                    ANTONACCI, DONNA
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




APOSTOLIC NUNCIATURE                     AQUINAS ASSOCIATES                   ARC GENERAL STORE & BAKING
3339 MASSACHUSETTS AVENUE, NW            8117 PRESTON ROAD                    52 SACRED HEART DRIVE
WASHINGTON, DC 20008-3610                SUITE 300                            BLDG #2
DALLAS, TX 75225                                                              GROTON, CT 06340




ARCH BISHOP FULTON SHEEN FOUNDATION      ARCHAMBAULT, MONSIGNOR HENRY         ARCHAMBAULT, REV MSGR HENRY N.
419 NE MADISON AVE                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]
PEORIA, IL 61603
ARCHDIOCESECase    21-20687
             FOR THE            Doc 11
                     MILITARY SERVICES   Filed 07/16/21
                                          ARCHDIOCESE      Entered 07/16/21 19:21:10
                                                      OF BOSTON                ARLINGTONPage 4 ofHERALD
                                                                                        CATHOLIC   50
PO BOX 4469                              66 BROOKS DRIVE                       C/O DIOCESE OF ARLINGTON
WASHINGTON, DC 20017                     BRAINTREE, MA 02184                   PO BOX 1960
MERRIFIELD, VA 22116




ARROW PAPER EQUIPMENT RENTAL-SALES       ART UNLIMITED                         ASCD
567 COLMAN ST                            751 COLONEL LEDYARD HIGHWAY           MEMBERSHIP PROCESSING CENTER
NEW LONDON, CT 06320                     PO BOX 282                            PO BOX 41602
LEDYARD, CT 06339                                                              PHILADELPHIA, PA 19101-9032




ASHE, REVEREND JOHN F.                   ASSERTIVE SOLUTIONS, INC.             AT&T ADVERTISING SOLUTIONS
[ADDRESS REDACTED]                       82 BOSTON POST ROAD                   PO BOX 5010
UNIT 5                                                                         CAROL STREAM, IL 60197 WATERFORD,
CT 06385




AT&T CORPORATION                         AT&T GLOBAL SERVICES, INC.            AT&T MOBILITY
ONE AT&T WAY RM 3A104                    PO BOX 8102                           PO BOX 6416
BEDMINSTER, NJ 07921                     AURORA, IL 60507-8102                 CAROL STREAM, IL 60197-6416




AT&T TELECONFERENCE SERVICE              ATTORNEY THOMAS LONARDO               AUSTIN'S GARAGE INC
PO BOX 5002                              290 PRATT STREET                      53 TAFTVILLE OCCUM RD
CAROL STREAM, IL 60197-5002              MERIDEN, CT 06450                     NORWICH, CT 06360




AVE MARIA PRESS, INC                     AVRIL WAYE                            B&C AUTO
PO BOX 428                               [ADDRESS REDACTED]                    74 NORWICH AVENUE
NOTRE DAME, IL 46556-0428                                                      NORWICH, CT 06360




B. RILEY ADVISORY SERVICES               B.F. HOXIE ENGINE COMPANY 1           BALDWIN, SHARON
3445 PEACHTREE ROAD                      34 BROADWAY AVENUE                    [ADDRESS REDACTED]
SUITE 1225                               MYSTIC, CT 06355
ATLANTA, GA 30326




BALLMAN, REVEREND LUKE                   BARBARA CORCORAN                      BARBARA GOUPILLE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BARBARA JEAN DIMAURO                     BARBARA LETSON                        BARILE, LAWRENCE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BARRY PATCH                              BAS - BENEFIT ALLOCATION - RETA       BAS
[ADDRESS REDACTED]                       PO BOX 417981                         PO BOX 417981
BOSTON, MA 02241-7981                                                          BOSTON, MA 02241-7981
BAS-RETA Case 21-20687         Doc 11   Filed 07/16/21
                                         BAYARD INC.       Entered 07/16/21 19:21:10     Page 5 of 50
                                                                               BAYNARD, INC.
PO BOX 31001-1457                       1 MONTAUK AVENUE                        1 MONTAUK AVE
PASDDENA, CA 91110-1457                 SUITE 2                                 #3
NEW LONDON, CT 06320-4967                                                       NEW LONDON, CT 06320




BAZINET CATERING SERVICE                BAZINET, RICHARD A                      BEALL, EBONY
DBA BAZINET CATERING SERVICE            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
17 WAWECUS HILL ROAD
NORWICH, CT 06360




BEAN, DANIELLE                          BEAUDOIN, JENNIFER                      BEAVER BROOK SAW SHOP
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      314 HUNTINGTON ROAD
SCOTLAND, CT 06264




BECKENHORST PRESS                       BENEVIDES, CAROL                        BENITEZ, TONY & MARLEN
PO BOX 14273                            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
COLUMBUS, OH 43214




BENJAMIN FRANKLIN PLUMBING              BERSTENE, MICHAEL C                     BESTECH INC. OF CONNECTICUT
580 LAKE ROAD                           [ADDRESS REDACTED]                      25 PINNEY STREET
ANDOVER, CT 06232                                                               ELLINGTON, CT 06029




BETH LATHROP                            BIRTHRIGHT OF GREATER NORWICH, INC.     BIRTHRIGHT OF WESTBROOK
[ADDRESS REDACTED]                      300 STATE ST                            150 EAST MAIN STREET
#317                                                                            UNIT 2
NEW LONDON, CT 06320                                                            CLINTON, CT 06413




BIRTHRIGHT OF WINDHAM                   BLACK AND INDIAN MISSIONS               BLACKBOARD CONNECT, INC.
122 VALLEY STREET                       2021 H STREET NW                        4000 WESTCHASE BLDG
WILLIMANTIC, CT 06226                   WASHINGTON, DC 20006                    SUITE 190
RALEIGH, NC 27607




BLAIR, ADAM                             BLESSED JOHN PAUL II SCHOOL             BLESSED SACRAMENT PARISH
[ADDRESS REDACTED]                      87 SOUTH MAIN STREET                    CORPORATION
MIDDLETOWN, CT 06457                                                            25 ST. BERNARD'S TERRACE
VERNON, CT 06066-3258




BLESSED SACREMENT PARISH                BLESSING, RYAN                          BLUE RIBBON L.L.C.
25 ST. BERNARD TERRACE                  [ADDRESS REDACTED]                      74 JORDAN LANE
ROCKVILLE, CT 06066                                                             SAMFORD, CT 06903




BOB MISH                                BONAGURA, ELIZABETH                     BONGIOVANNI GROUP, INC.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      170 PANE ROAD
2ND FLOOR
NEWINGTON, CT 06111-5521
BOSSE, DANCase 21-20687       Doc 11   Filed 07/16/21
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                                                                                        PAUL 6 of 50
[ADDRESS REDACTED]                      140 COMMONWEALTH AVENUE                 [ADDRESS REDACTED]
CHESTNUT HILL, MA 02467




BOULEY, RANDY                           BOVINO, MICHAEL                         BRANDERS COM INC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      PO BOX 8430
PASADENA, CA 91109




BRENDA CATALDO                          BRENNAN, NANCY                          BRIAN DALY
16 BROOKFIELD ROAD                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]
BOLTON, CT 06043




BRIAN HENRY                             BRIGETTE SPENCER                        BRISSON, JANET E.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




BROAD STREET KITCHEN & COFFEE           BROGLIO, MOST REV. TIMOTHY              BROTHERS OF HOLY CROSS, INC.
210 S BROAD ST                          PO BOX 4469                             PO BOX 460
PAWCATUCK, CT 06379                     WASHINGTON, DC 20017-0469               NOTRE DAME, IN 46530




BROWN BOOK AGENCY                       BROWN JACOBSON PC                       BRUSTOLON
4860 CORNING DRIVE                      22 COURTHOUSE SQUARE                    PO BOX 68
NASHVILLE, TN 37211                     PO BOX 391                              MYSTIC, CT 06355
NORWICH, CT 06360-0391




BUCKLEY APPRAISAL SERVICES, INC         BUILDER SERVICES GROUP                  BURNS, KATHLEEN
338 MAIN STREET                         DBA QUALITY INSULATION OF EASTERN, CT   [ADDRESS REDACTED]
NIANTIC, CT 06357                       505 NORWICH AVENUE
TAFTVILLE, CT 06380




BUSINESS CARD SERVICES                  BUSTO, REVEREND GEORGE A                CABRERA, ROLAND
PO BOX 1044                             [ADDRESS REDACTED]                      177 BRANFORD AVENUE
BRATTLEBORO, VT 05302-1044                                                      GROTON, CT 06340




CADY, REBECCA                           CAISE, KAREN                            CAMPION RENEWAL CENTER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      319 CONCORD ROAD
WESTON, MA 02493-1398




CANDICE M. MONSON                       CANON LAW SOCIETY OF AMERICA            CANTERBURY PILGRIMAGES & TOURS INC.
[ADDRESS REDACTED]                      415 MICHIGAN AVENUE, NE                 166 SOUTH RIVER ROAD
SUITE 10                                                                        SUITE 110
WASHINGTON, DC 20017-4502                                                       BEDFORD, NH 03110
          Case
CAPITAL ONE  CARD21-20687
                 SERVICES     Doc 11   Filed 07/16/21
                                        CAPITOL           Entered 07/16/21 19:21:10
                                                MOVING & STORAGE                       Page 7 of 50
                                                                              CAPITOL UNIFORM
PO BOX 71107                           220 STRONG ROAD                        118 CROSS ROAD
CHARLOTTE, NC 28272-1107               SOUTH WINDSOR, CT 06074                WATERFORD, CT 06385




CAPTIVATORS, LLC                       CAPUCHIN FRIARS                        CARABELAS, ROSANNA
34428 YUCAIPA BLVD #E214               [ADDRESS REDACTED]                     [ADDRESS REDACTED]
YUCAIPA, CA 92399




CARBONE, TERRY                         CARD SERVICES                          CARDS BY ANNE
[ADDRESS REDACTED]                     PO BOX 875852                          PO BOX 99
KANSAS CITY, MO 64187*5852                                                    WEXFORD, PA 15090




CARE NET PREGNANCY CENTER              CARILLO, LINDSAY                       CARING FAMILY SERVICES
492 MONTAUK AVE                        [ADDRESS REDACTED]                     PASTOR JAMES BEESLEY
NEW LONDON, CT 06320                                                          PO BOX 71
WILLIMANTIC, CT 06226




CARINI, JAMES P.                       CAROL BUTLER                           CAROL CIMINO, SSJ. ED.D
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




CARRERO, WANDA                         CASCADE WATER SERVICES                 CASEY, VF, REVEREND ROBERT E
[ADDRESS REDACTED]                     113 BLOOMINGDALE ROAD                  [ADDRESS REDACTED]
HICKSVILLE, NY 11801




CASTALDI, JOSEPH                       CATAPULT LEARNING LLC                  CATHEDRAL OF SAINT PATRICK
[ADDRESS REDACTED]                     TWO AQUARIUM DR SUITE 100              213 BROADWAY
CAMDEN, NJ 08103                                                              NORWICH, CT 06360




CATHEDRAL                              CATHERINE GOODWIN                      CATHERINE ZUTELL
GRIFFIN TECH PARK                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
632 ELLSWORTH ROAD
ROME, NY 13441




CATHOLIC APOSTALATE CENTER             CATHOLIC BENEFITS ASSOCIATION          CATHOLIC BOOKS
PO BOX 4556                            695 JERRY ST., SUITE 306               [ADDRESS REDACTED]
WASHINGTON, DC 20017                   CASTLE ROCK, CO 80104




CATHOLIC CAMPAIGN FOR HUMAN            CATHOLIC CHARITIES & FAMILY SERVICES   CATHOLIC CHARITIES
DEVELOPMENT                            331 MAIN STREET                        331 MAIN STREET
3211 FOURTH STREET, NE                 NORWICH, CT 06360                      NORWICH, CT 06360
WASHINGTON, DC 20017
          Case 21-20687
CATHOLIC COMMUNICATION      Doc
                       CAMPAIGN      11    Filed 07/16/21
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                                                                                 CATHOLIC HOME  8 of 50
                                                                                                      APPEAL
3211 FOURTH STREET, NE                      DIOCESAN DEVELOPMENT OFFICE           3211 FOURTH STREET, NE
WASHINGTON, DC 20017                        197 BROADWAY                          WASHINGTON, DC 20017
NORWICH, CT 06360




CATHOLIC LEAGUE FOR RELIGIOUS               CATHOLIC NEAREAST WELFARE ASSOC.      CATHOLIC RELIEF SERVICES
2330 WEST 118TH STREET                      1011 1ST AVENUE                       228 WEST LEXINGTON STREET
CHICAGO, IL 60643                           #15                                   BALTIMORE, MD 21201-3443
NEW YORK, NY 10022




CATHOLIC UMBRELLA POOL                      CATHOLIC UNIVERSITY OF AMERICA        CATHONET, LLC
C/O CATHOLIC MUTUAL RELIEF SOCIETY          620 MICHIGAN AVENUE, NE               14 HAMPSHIRE DRIVE
10843 OLD MILL ROAD                         WASHINGTON, DC 20064                  HUDSON, NH 03051
OMAHA, NE 68154-2600




CENTER FOR APPLIED RESEARCH                 CERTIFIED AUTO REPAIR, LLC            CHADWICK MEDICAL ASSOCIATES
2300 WISCONSIN AVENUE, NW                   52A ROUTE 66                          PO BOX 5405
SUITE 400A                                  COLUMBIA, CT 06237                    BELFAST, ME 04915-5400
WASHINGTON, DC 20007




CHAMBER OF COMMERCE EASTERN                 CHANCE FILMS                          CHASE GRAPHICS, INC.
CONNECTICUT                                 2536 BEVERLY AVE                      124 SCHOOL STREET
914 HARTFORD TURNPIKE                       SANTA MONICA, CA 90405                PUTNAM, CT 06260
WATERFORD, CT 06385




CHOCARIA, ELAINE                            CHRIS GONSALVES                       CHRIS HETZER
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




CHRISTIAN BROTHERS SERVICES                 CHRISTIAN HAPPENINGS                  CHRISTIANNA NIEDOJADLO
1205 WINDHAM PARKWAY                        6185 HUNTLEY ROAD                     167 NORWOOD AVENUE
ROMEOVILLE, IL 60446-1679                   SUITE Q                               NEW LONDON, CT 06320
COLUMBUS, OH 43229




CHRISTINA CAPECCHI                          CHRISTINE CHRISTENSEN                 CHRISTOPHER GONSALVES
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]




CHRISTOPHER KORETSKI                        CHRISTOPHER STEFANICK                 CHURCH IN LATIN AMERICA
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    3211 FOURTH STREET, NE
WASHINGTON, DC 20017-1194




CHURCH OF THE HOLY FAMILY OF HEBRON,      CHURCH OF THE SACRED HEART OF JESUS   CINDY JOHNSON
INC                                       620 WAUREGAN RD                       [ADDRESS REDACTED]
185 CHURCH ST., RTE. 85, AMSTON, 06231    WAUREGAN, CT 06234
PO BOX 146
HEBRON, CT 06248-0146
          Case 21-20687
CIPOLLINI, DIANE
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                                                 NORWICH ASSESSOR'S 07/16/21 19:21:10     PageDEPT.
                                                                                CITY OF NORWICH 9 of OF
                                                                                                     50HUMAN
[ADDRESS REDACTED]                       100 BROADWAY                           ATTN MARY BARTLETT
                                         ROOM 132                               NORWICH CITY HALL BUILDING
                                         NORWICH, CT 06360                      100 BROADWAY, UNIT 213
                                                                                NORWICH, CT 06360



CITY OF NORWICH                          CLA ENGINEERS, INC.                    CLARK UNIVERSITY
NORWICH CITY HALL BUILDING               317 MAIN STREET                        950 MAIN STREET
100 BROADWAY                             NORWICH, CT 06360                      WORCESSTER, MA 01610
NORWICH, CT 06360




CLIFF DRECHSLER-MARTELL MD               CLOUTIER FAMILY PRACTICE, LLC          CLOUTIER, ROLAND C.
377 BROAD STREET                         10 LIBERTY WAY                         [ADDRESS REDACTED]
MERIDEN, CT 06450                        SUITE 10B
NIANTIC, CT 06357




COACH TOURS                              COLLEEN EGAN                           COMCAST SPOTLIGHT
475 FEDERAL ROAD                         [ADDRESS REDACTED]                     PO BOX 415949
BROOKFIELD, CT 06804                                                            BOSTON, MA 02241-5949




COMCAST                                  COMMERCIAL CARD SERVICES               COMMISSARIAT OF THE HOLY LAND
1701 JFK BOULEVARD                       PO BOX 1044                            1400 QUINCY STREET, NE
PHILADELPHIA, PA 19103                   BRATTLEBORO, VT 05302-1044             WASHINGTON, DC 20017




COMMITTEE ON DIVINE WORSHIP              COMMUITY NEWSPAPER CO.                 COMMUNITY OF HOPE
PO BOX 96989                             PO BOX 845908                          1649 ROUTE 12
WASHINGTON, DC 20090-6989                BOSTON, MA 02284                       SUITE 2
GALES FERRY, CT 06335




COMPUTERIZED ASSESSMENTS &               CONGREGATION OF MARIAN FATHERS         CONIGLIONE, RITA
LEARNING LLC                             VERY REV. JOSEPH ROESCH                [ADDRESS REDACTED]
1202 EAST 23RD STREET                    MIC, CONGREGATION OF MARIANS
SUITE D                                  VIA CORSICA 1
LAWRENCE, KS 66046                       ROME 00198 ITALY



CONN CATHOLIC PUBLIC AFFAIRS             CONNECTICUT BUSINESS SYSTEMS           CONNECTICUT CATHOLIC CONFERENCE
CONFERENCE                               PO BOX 788760                          134 FARMINGTON AVENUE
134 FARMINGTON AVENUE                    PHILADELPHIA, PA 19178-8760            HARTFORD, CT 06105
HARTFORD, CT 06105




CONNECTICUT COLLEGE                      CONNECTICUT TIGERS                     CONNELL, KATHERINE
PRINTING SERVICES                        DODD STADIUM                           [ADDRESS REDACTED]
270 MOHEGAN SERVICES                     14 STOTT AVENUE
NEW LONDON, CT 06320                     NORWICH, CT 06360




CONNIE GILLIES                           CONOVER, JIM                           CONSTANT CONTACT
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     ATTN: ACCTS. PAYABLE
1601 TRAPELO ROAD WALTHAM, MA 02451
          Case
CONSTITUTION     21-20687
              COACH, INC          Doc 11   Filed 07/16/21
                                             CONTROLLED       Entered 07/16/21 19:21:10
                                                        AIR, INC.                         Page
                                                                                   CONVERCENT,   10 of 50
                                                                                               INC.
260 WEST ST                                 21 THOMPSON ROAD                       DEPT. CH 17050
BOLTON, CT 06043                            BRANFORD, CT 06405                     PALATINE, IL 60055-7050




CONWAY & LONDREGAN, P.C.                    COONEY, SCULLY AND DOWLING             COOPER O'BOYLE, DONNA-MARIE
38 HUNTINGTON ST                            HARTFORD SQUARE NORTH                  PO BOX 773
NEW LONDON, CT 06320                        TEN COLUMBUS BLULEVARD                 6 LOIS LANE
HARTFORD, CT 06106                                                                 NEW MILFORD, CT 06776




COOPER RAY                                  COPY CATS PRINTING                     CORBIN, JILLIAN
1301 STAPLETON LANE                         458 WILLIAMS STREET                    [ADDRESS REDACTED]
FLOWER MOUND, TX 75028                      NEW LONDON, CT 06320




CORCORAN, KATHERINE                         CORCORAN, THOMAS W.                    CORE SOLUTIONS
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                     85 BARROWS ROAD
UNION, CT 06076




 CORNERTONE FOUNDATION                      CORPORATION OF THE SACRED HEART OF    CORPUS CHRISTI CATHOLIC PARISH CORP
 15 PROSPECT STREET                         JESUS                                 99 JACKSON ST.
 PO BOX 3                                   156 PROVIDENCE ST                     WILLIMANTIC, CT 06226-3077
 VERNON, CT 06066-9998                      PO BOX 208
                                            TAFTVILLE, CT 06380-0208



 CORPUS CHRISTI CATHOLIC PARISH             CORRECTIONAL ENTERPRISES OF CT.       COTE, MOST REV. MICHAEL
 61 CLUB ROAD                               24 WOLCOTT HILL ROAD                  [ADDRESS REDACTED]
 WINDHAM, CT 06280-1007                     WETHERSFIELD, CT 06109




COUPLE TO COUPLE LEAGUE INTL                COVENANT HOUSE                         CRANBERRY POND FARM, L.L.C.
4290 DELHI AVENUE                           460 WEST 41ST STREET                   218 CRANBERRY POND ROAD
CINCINNATI, OH 45238                        NEW YORK, NY 10036-6801                NORWICH, CT 06360




CREATIVE CATECHIST                          CROCKER, BARBARA                       CROWNE PLAZA CROMWELL
PO BOX 6015                                 [ADDRESS REDACTED]                     4 SEBETHE DR
NEW LONDON, CT 06320                                                               ATTN KRYSTAL KAPUSTINSKI
CROMWELL, CT 06416




CRYSTAL ROCK                                CT FIREFIGHTERS PIPES & DRUMS          CT MULTISPECIALTY GROUP-
1050 BUCKINGHAM ST                          PO BOX 1782                            PO BOX 587
WATERTOWN, CT 06795                         LITCHFIELD, CT 06759                   ROCKY HILL, CT 06067




CT PARADE MARSHAL ASSOCIATION               CT STRING TRIO                         CT. STATE COUNCIL KNIGHTS OF COLUMBUS
PO BOX 440                                  MS. JUNE INGRAM                        JOHN L RUGGIERO, FDD
MERIDEN, CT 06450                           352 PACKER ROAD                        54 DEERFIELD DRIVE
MYSTIC, CT 06355                                                                   GLASTONBURY, CT 06033-1446
          Case 21-20687
CUERVO-LOZADA, JULIAN
                              Doc 11   Filed 07/16/21 Entered 07/16/21 19:21:10
                                        CURRICULUM ASSOCIATES
                                                                                    Page 11 of 50
                                                                           CURTIS, SUSAN
[ADDRESS REDACTED]                      PO BOX 4119                         [ADDRESS REDACTED]
WOBURN, MA 01888-4119




CUSTOM 41 CATERERS LLC                  CWC                                 CYBER SAFETY CONSULTING
41 TAME BUCK ROAD                       PO BOX 981015                       191 SUNSET AVENUE
WOLCOTT, CT 06716-3114                  BOSTON, MA 02298-1015               GLEN ELLYN, IL 60137




CYO BRIDGEPORT CATHOLIC SCOUTING        D'AMELIO, KATHLEEN                  DAN ALAIMO
CT YANKEE COUNCIL                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]
PO BOX 32
MILFORD, CT 06460




DANIEL A. DILLON                        DANIEL A. TWOMEY                    DANIEL CHONG-JIMENEZ
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




DANIEL MIECZYNSKI                       DAS COMPANIES                       DATER SPECIALLTIES, INC.
[ADDRESS REDACTED]                      PO BOX 826587                       JAMIEJOSLYN
PHILADELPHIA, PA 19182-6587                                                 514 CORNWALL AVENUE
CHESHIRE, CT 06410




DATTCO, INC.                            DAUGHTERS OF ST. PAUL               DAUGHTER'S OF THE HOLY SPIRIT
583 SOUTH STREET                        50 ST. PAUL'S AVENUE                HOLY SPIRIT PROVINCIAL HOUSE
NEW BRITAIN, CT 06051                   BOSTON, MA 02130                    72 CHURCH STREET
PUTNAM, CT 06260-1810




DAVE ELWELL                             DAVE HOSKINS                        DAVID ALAN CATERING
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




DAVID F ZITA PHD                        DAVID MIECZYNSKI                    DAVID REYNOLDS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




DAVID SANTOS                            DAY ONE PUBLISHING                  DDLC ENERGY
[ADDRESS REDACTED]                      PO BOX 676                          MEMBER HOP ENERGY, LLC
CHARLOTTE HALL, MD 20622                                                    410 BANK STREET
NEW LONDON, CT 06320




DEACON JORGE ESCALONA                   DEACON OCTAVIO FLORES-CUADRA        DEACON PIERRE DESILETS
243 ROUTE 164                           11 BLUE BIRD ROAD                   89 WILKINSON STREET
PRESTON, CT 06365                       MIDDLETOWN, CT 06457                PUTNAM, CT 06260
         Case 21-20687
DEACON RICHARD LAPIERRE
                             Doc 11   Filed 07/16/21 Entered 07/16/21 19:21:10
                                        DEACON SCOTT BROWN
                                                                                  Page 12 of 50
                                                                          DEACON STEVEN DEMARTINO
25 POND STREET                         122 BURDICK DRIVE                   ST. AUGUSTINE PARISH
OAKLAND, RI 02858                      CRANSTON, RI 02920                  381 NORTH HIGHLAND AVENUE
OSSINING, NY 10562




DEACON TONY DETJE                      DEACON WILLIAM MCGANN               DEACON WILLIAM URBINE
238 JEWETT AVENUE                      12 NUGGETT HILL DRIVE               2145 MADISON AVENUE
BRIDGEPORT, CT 06606                   GALES FERRY, CT 06335               BETHLEHEM, PA 18107-4642




DEBORAH LYON                           DECLAN WEIR PRODUCTIONS, INC.       DEF SERVICES GROUP, LTD
[ADDRESS REDACTED]                     233 POTEAT PL                       1171 VOLUNTOWN RD
FRANKLIN, TN 37064                                                         GRISWOLD, CT 06351




DELIA MECHANICAL                       DELIA PLUMBING & HEATIG             DEMCO
23A KRUG ROAD                          23 A KRUG ROAD                      PO BOX 8048
PRESTON, CT 06365                      PRESTON, CT 06365                   MADISON, WI 53708-8048




DENNIS F. SHEEHAN                      DENNIS J. RILEY                     DENNIS JAMES DORNER
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




DEPARTMENT OF MOTOR VEHICLES           DEPT. OF CODE ENFORCEMENT           DEPT. OF PUBLIC SAFETY
PO BOX 150456                          WINDHAM TOWN HALL                   BUREAU OF BOILERS
HARTFORD, CT 06115-0456                979 MAIN STREET                     1111 COUNTRY CLUB ROAD
WILLIMANTIC, CT 06226                                                      MIDDLETOWN, CT 06457




DEPT. OF PUBLIC SAFETY                 DEREK BOCHER                        DEREK JOLY
BUREAU OF ELEVATORS                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]
1111 COUNTRY CLUB ROAD
MIDDLETOWN, CT 06457




DESKUS, CHRISTOPHER                    DEXYP                               DFMC NATIONAL OFFICE
[ADDRESS REDACTED]                     PO BOX 619009                       4727 E. BELL ROAD
DFW AIRPORT, TX 75261-9009                                                 SUITE 45-358
PHOENIX, AZ 85032




DHAREN BROCHERO                        DIANA PEAKE                         DIANA SADLON
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




DIANNA GAGNE LEMAY                     DILLON, RYAN                        DIME BANK
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  898 VETERANS MEMORIAL HIGHWAY
SUITE 560
HAUPPAUGE, NY 11788
DIOCESAN Case   21-20687
         ADMINISTRATION CORP.Doc   11   Filed 07/16/21
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                                                                                             MANAGEMENT
C/O DIOCESE OF PROVIDENCE                815 BOSWELL AVENUE                    3240 EAST UNION HILLS DR.
1 CATHEDRAL SQUARE                       NORWICH, CT 06360                     SUITE 171
PROVIDENCE, RI 02903                                                           PHOENIX, AZ 85050




DIOCESAN SCHOOL OFFICE                   DIOCESE OF BRIDGEPORT                 DIOCESE OF BURLINGTON
25 OTIS STREET                           OFFICE FOR EDUCATION                  55 JOY DRIVE, SO
NORWICH, CT 06350                        238 JEWETT AVENUE                     BURLINGTON, CT 05403
BRIDGEPORT, CT 06606




DIOCESE OF FALL RIVER                    DIOCESE OF NORWICH LAY PENSION ACCT   DIOCESE OF NORWICH
450 HIGHLAND AVENUE                      201 BROADWAY                          201 BROADWAY
FALL RIVER, MA 02720                     NORWICH, CT 06360                     NORWICH, CT 06360




DIOCESE OF SPRINGFIELD MA.               DIOCESE OF WORCESTER                  DISC MAKERS
PO BOX 1730                              49 ELM STREET                         7905 N. ROUTE 130
SPRINGFIELD, MA 01102                    WORCESTER, MA 01610                   PENNSAUKEN, NJ 08110




DISILVESTRO, SHARON                      DITEWIG, WILLIAM                      DIVINE WORD THEOLOGATE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    5342 S UNIVERSITY AVENUE
CHICAGO, IL 60615




DOMAIN NAME REGISTRATION                 DOMBROWSKI, ASHLEY                    DOMINIC QUAGLIA, JR.
DATA PROCESSING CENTERS                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
40 WALL ST. 28TH FLOORQ
NEW YORK, NY 10005-1304




DON TRAHAN                               DONALD TRAHAN                         DONNA ANTONACCI
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DONOHUE, MICHAEL T.                      DONOHUE, MONSIGNOR MICHAEL T.         DOUBLETREE HOTEL
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    5400 COMPUTER DRIVE
WESTBOROUGH, MA 01581




DOWNS, DAVID                             DR. CORNELIO HONG                     DR. EDWARD KUDEJ
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DR. HOWARD KORN                          DR. JUAN SANCHEZ                      DR. MICHAEL M. DEREN
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
DR. SARAHCase  21-20687
         WANNEMUEHLER       Doc 11   Filed 07/16/21
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                                                                                            LLC
[ADDRESS REDACTED]                    101 E. NINTH STREET                   PO BOX 22359
WAYNESBORO, PA 17268                                                        NASHVILLE, TN 37202




DUBE TRAVEL                           DUCASSE, JEAN C.                      DUMB OX MINISTRIES
250 CENTER STREET                     ONE MARSHALL CIRCLE                   2020 DICKORY AVENUE
AUBURN, ME 04210                      PEABODY, MA 01960                     SUITE 202
HARAHAM, LA 70123




DUPESHOP LLC                          DUPONT SYSTEMS, INC                   DYNAMARK SECURITY CENTERS
8525 EDINBROOK CROSSING               76 HALCYON DRIVE                      33 SYLVAN STREET
SUITE 102C                            BRISTOL, CT 06010                     WEST SPRINGFIELD, MA 01089
BROOKLYN PARK, MN 55443




DYNAMARK SECURITY CENTERS, LLC        DZIALO, PICKETT & ALLEN, P.C.         DZIMIAN, THOMAS
375 OLD STAFFORD ROAD                 148 BROAD STREET                      [ADDRESS REDACTED]
TOLLAND, CT 06084                     MIDDLETOWN, CT 06457




EAGLE FENCE & GUARDRAIL               EARL R. CLARK                         EAST CATHOLIC HIGH SCHOOL
PO BOX 7077                           [ADDRESS REDACTED]                    115 NEW STATE ROAD
PLAINVILLE, CT 06062                                                        MANCHESTER, CT 06040-1898




EAST END SPORTING GOODS               EASTERN CONNECTICUT SYMPHONY          EASTERN CT IMAGING PC RHOSP
PO BOX 447                            ORCHESTRA                             PO BOX 939
11500 MAIN ROAD                       289 STATE ST                          WINDSOR, CT 06095-0939
MATTITUCK, NY 11952                   NEW LONDON, CT 06320




EBREVIARY                             ED CRAMER                             EDLINE, LLC D/B/A BLACKBOARD ENGAGE
PETER STUYVESANT STATION              [ADDRESS REDACTED]                    PO BOX 06290
PO BOX 1407                                                                 CHICAGO, IL 60606
NEW YORK, NY 10009-8903




EDPM ADVISORY SERVICES                EDUCATION WEEK                        EDWARD BRADLEY
10 BAY SHORE AVENUE                   PO BOX 3005                           [ADDRESS REDACTED]
STE. 5414                             LANGHORNE, PA 19047-9604
BAY SHORE, NY 11706




EDWARD HALL                           EDWIN F. KALMUS                       EGBERT, MELISSA
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ELAINE CHOCARIA                       ELAINE M. SWEENEY                     ELHN BADGE & COIN MFG. CO.
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    PO BOX 415
CANTON, CT 06019
         Case
ELHN BADGE       21-20687
            & EMBLEM DESIGN   Doc 11   Filed
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                                               PLUMBING SERVICES               ELIZABETHPage
                                                                                         ADAMS15 of 50
PO BOX 415                              86 WHIPPOORWILL HOLLOW ROAD            [ADDRESS REDACTED]
CANTON, CT 06019                        LOT B
FRANKLIN, CT 06254




ELIZABETH BARRA                         ELIZABETH F. LOFTUS, PH.D.             ELLINGTON PRINTERY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




ELLIS, JEFFREY R                        EMPLOYER'S REFERENCE SOURCE, INC.      EMPOWER LEADERSHIP SPORTS
[ADDRESS REDACTED]                      PO BOX 7019                            ADVENTURE CTR
PROSPECT, CT 06712                                                             PO BOX 2341
MIDDLETOWN, CT 06457




ENDERS ISLAND                           ENGAGE SOFTWARE                        ENGINEER, PC
PO BOX 399                              11780 MANCHESTER ROAD                  146 WYLLYS ST
MYSTIC, CT 06355                        SUITE 207                              HARTFORD, CT 06106
ST. LOUIS, MO 63131




ERIN M. KONICKI                         ESCALONA, JORGE                        ESTATE OF VINCENT STEPHENS, MD
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     127 VERNON RD
BOLTON, CT 06043




EUGENE WARNER                           EVERGREEN PROPERTIES                   EVERSOUCE
[ADDRESS REDACTED]                      295 LEBANON ROAD                       48 TOLLAND STAGE RD
NORTH FRANKLIN, CT 06254                                                       TOLLAND, CT 06084




EVERSOURCE (ELECTRICITY)                EVERSOURCE (GAS)                       EVERSOURCE ENERGY
PO BOX 56002                            PO BOX 56004                           107 SELDEN STREET
BOSTON, MA 02205-6004                   BOSTON, MA 02205-6004                  BERLIN, CT 06037




EXTREME PLUMBING & HEATING              EXXON MOBIL                            F. WILLIAM BROWN, LLC
PO BOX 66                               PO BOX 78001                           [ADDRESS REDACTED]
MILLDALE, CT 06467                      PHOENIX, AZ 85062-8001




FACTS MANAGEMENT COMPANY                FAITH CATHOLIC                         FALL RIVER DIOCESE CATHOLIC COMMITTEE
121 S 13TH ST                           FAITH CATHOLIC                         C/O SUSAN ROGERS
STE 301                                 1500 E SAGINAW STREET                  880 BAY STREET
LINCOLN, NE 68508                       LANSING, MI 48906                      TAUNTON, MA 02780




FALLON & WILKINSON, LLC                 FALLON MOVING                          FAMILY PIZZA RESTUARANT
32 BUSHNELL HOLLOW ROAD                 COMMERICAL MOVING SERVICES             296 S. MAIN STREET
BALTIC, CT 06330                        800 MARSHALL PHELPS ROAD, BLDG #3      COLCHESTER, CT 06415
WINDSOR, CT 06095
            Case 21-20687
FAMILY UPHOLSTERY,  INC.       Doc 11   Filed 07/16/21
                                         FARRELL, MARIE     Entered 07/16/21 19:21:10    Page
                                                                                 FEDERATION     16 of 50LITURGICAL
                                                                                            OF DIOCESAN
253 BOSTON POST ROAD                     [ADDRESS REDACTED]                       415 MICHIGAN AVENUE
PO BOX 310                                                                        SUITE 70
EAST LYME, CT 06333                                                               WASHINGTON, DC 20017




FEDEX                                    FEENY, CHRISTOPHER                       FIDELITY CHARITABLE GIFT FUND
PO BOX 371461                            [ADDRESS REDACTED]                       PO BOX 770001
PITTSBURGH, PA 15250-7461                                                         CINCINNATI, OH 45277-0053




FIORE, JR., HENRY                        FIORE'S PIZZERIA                         FIRE PROTECTION SPECIALISTS, LLC
[ADDRESS REDACTED]                       314 FLAT ROCK PL                         40-1 RIVER STREET
WESTBROOK, CT 06498-3513                                                          PO BOX 1077
OLD SAYBROOK, CT 06475




FIS                                      FLANAGAN ASSOCIATES                      FLANDERS FISH MARKET
PAYMENT SERVICES DIV.                    12 PECK ST                               22 CHESTERFIELD ROAD
1200 CORPORATE DR. SUITE 300             NORTH HAVEN, CT 06473                    EAST LYME, CT 06333
BIRMINGHAM, AL 35242




FLANDERS, TOM                            FLOOR COVERING SHOP, INC.                FLYNN, REV WILLIAM
[ADDRESS REDACTED]                       385 CENTRAL AVENUE                       [ADDRESS REDACTED]
NORWICH, CT 06360




FOCUS                                    FORESITE TECHNOLOGIES INC                FOSTER, GINA
603 PARK POINT DRIVE                     99 EAST RIVER DRIVE                      [ADDRESS REDACTED]
SUITE 200                                7TH FLOOR
GOLDEN, CO 80401-5787                    EAST HARTFORD, CT 06108




FRANCISCAN MONASTERY USA INC             FRANCISCAN SISTERS OF THE EUCHARIST      FRANCOIS, JACLYN
1400 QUINCY ST NE                        275 FINCH AVENUE                         [ADDRESS REDACTED]
WASHINGTON, DC 20017                     MERIDEN, CT 06451




FRANK MALETZ                             FRAZIER, HERMAN                          FRED F. WALTZ COMPANY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                       97 INDUSTRIAL DR
NORTH SMITHFIELD, RI 02896




FRIESS, SANDY                            FRONTIER COMMUNICATIONS                  FRONTIER
[ADDRESS REDACTED]                       19 JOHN STREET                           PO BOX 740407
MIDDLETOWN, NY 10940                                                              CINNCINNATI, OH 45274-0407




FRONTLINE TECHNOLOGIES GROUP LLC         FULTON, TRINA                            GALVIN, GREGORY
PO BOX 780577                            [ADDRESS REDACTED]                       [ADDRESS REDACTED]
PHILADELPHIA, PA 19178-0577
         CaseEQUIPMENT
GANO'S POWER   21-20687        Doc 11   Filed 07/16/21
                                         GARDINER, SUSAN Entered 07/16/21 19:21:10     Page 17 of 50
                                                                              GARY KIRSCH
ROUTE 16                                 [ADDRESS REDACTED]                     [ADDRESS REDACTED]
COLCHESTER, CT 06415




GATEHOUSE MEDIA                          GEMMA MORAN UNITED WAY                 GENERAL EQUITIES INC.
PO BOX 845908                            PO BOX 429                             PO BOX 7318
BOSTON, MA 02284-5908                    374 BROAD STREET                       KENSINGTON, CT 06037
NEW LONDON, CT 06320




GERALD SHAW                              GERALD ZIMMERMAN                       GIA PUBLICATIONS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     7404 S MASON AVENUE
CHICAGO, IL 60638




GIANNETTI, KIMBERLY                      GIGNAC, WAYNE D                        GILL, DR., AMARJEET
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




GILL, PETER                              GILL, REVEREND MICHAEL J.              GIUSEPPES CATERING LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     1593 NORWICH NL TURNPIKE
UNCASVILLE, CT 06382




GLANKLER BROWN, PLLC                     GLAUDE, JESSE N                        GLOBAL INSPIRATIONS, LLC
ATTN ACCOUNTS RECEIVABLE                 [ADDRESS REDACTED]                     PO BOX 184
1700 ONE COMMERCE SQUARE                                                        NORWICH, CT 06360
MEMPHIS, TN 38103




GLOVE NATION                             GORDON'S YELLOW FRONT WINE & LIQUORS   GOTTIER
636 LONG POINT ROAD                      177 COLMAN STREET                      PO BOX 1000
SUITE G120                               NEW LONDON, CT 06320                   ROCKVILLE, CT 06066-1000
MT. PLEASANT, SC 29464




GOWRIE GROUP                             GRADER TROPHY & AWARDS                 GRANITE CITY ELECTRIC SUPPLY CO.
PO BOX 1212                              561 W MAIN ST                          PO BOX 213
WESTBROOK, CT 06498                      UNIT 2                                 BRATTLEBORO, VT 05302-0213
NORWICH, CT 06360




GRAY WOLF WASTE SERVICE, LLC             GREENTREE, LLC                         GREGG KELLY
24 ROUTE 2                               17 LEDGEWOOD CT.                       [ADDRESS REDACTED]
PRESTON, CT 06365                        NORWICH, CT 06360




GREGORY GANNOTTI                         GREY WOLF WASTE SERVICE, LLC           GUERRINI, PATRICK E
[ADDRESS REDACTED]                       24 ROUTE 2                             [ADDRESS REDACTED]
PRESTON, CT 06365
          Case 21-20687
GUEST COMMUNICATIONS   CORP   Doc 11   Filed 07/16/21
                                         GUILMARTIN, DIPIROEntered 07/16/21
                                                           & SOKOLOWSKI, LLC 19:21:10    Page 18 of 50
                                                                                 GULEMO PRINTERS
15009 W 101ST TERRACE                   505 MAIN ST                            2 BIRCH ST
SHAWNEE MISSION, KS 66215               MIDDLETOWN, CT 06457                   WILLIMANTIC, CT 0'6226




GURNEY'S NEWPORT RESORT & MARINA       HABITAT FOR HUMANITY OF                 HAITIAN HEALTH FOUNDATION
1 GOAT ISLAND                          SOUTHEASTERN CT                         97 SHERMAN ST.
NEWPORT, RI 02840                      ATTN: AMANDA DUNTZ                      NORWICH, CT 06360
                                       377 BROAD STREET
                                       NEW LONDON, CT 06320



HAL FARRINGTON                         HALL COMMUNICATIONS                     HANOVER INSURANCE CO.
[ADDRESS REDACTED]                     40 CUPRAK RD                            440 LINCOLN STREET
                                       NORWICH, CT 06360                       WORCESTER, MA 01653-0002




HANRAHAN, ANNETTE                       HARRIS CONNECT LLC                     HARRIS, HEATHER
[ADDRESS REDACTED]                      ACCT RECEIVABLE                        [ADDRESS REDACTED]
1511 RT 22, SUITE 25C
BREWSTER, NY 10509




HATHAWAY, TIMOTHY                       HAYES, ROBERT P.                       HAZ-PROS, INC.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     125-A BROOK ST.
                                                                                WEST HARTFORD, CT 06110




HEALEY, REV. BERNARD                    HEALTHSCOPE                            HEATHER SCHLINK
[ADDRESS REDACTED]                      27 CORPORATE HILL DRIVE                [ADDRESS REDACTED]
LITTLE ROCK, AR 72205




HENDEY, LISA                            HG GARAGE DOOR SERVICE, LLC            HICKEY, DON
[ADDRESS REDACTED]                      195 PLEASURE HILL RD                   [ADDRESS REDACTED]
NORTH FRANKLIN, CT 06254




HILLYARD - CONNECTICUT                  HILTON, JACARI                         HIRE RIGHT SOLUTIONS, INC
PO BOX 801918                           [ADDRESS REDACTED]                     PO BOX 847783
KANSAS CITY, MO 64180-1918                                                     DALLAS, TX 75284-77833




HIS & HERS PAINTING CT                  HISTORY EDUCATION                      HOCON GAS, INC.
449 GLEN STREET                         102 E. WASHINGTON ST.                  20 RAILROAD HILL STREET
NEW BRITAIN, CT 06051                   CLARINDA, IA 51632                     WATERBURY, CT 06708




HOISL, ANDREA                           HOLIDAY INN                            HOLLY MORIN
[ADDRESS REDACTED]                      10 LAURA BLVD                          [ADDRESS REDACTED]
NORWICH, CT 06360
         Case
HOLY FAMILY  HOME21-20687
                   & SHELTER   Doc 11     Filed
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88 JACKSON ST                               DEPT. 32-2505296503                     749 SAYBROOK ROAD
WILLIMANTIC, CT 06226                       PO BOX 78047                            MIDDLETOWN, CT 06457
PHOENIX, AZ 85062-8047




HONORA NOLTY                                HOSMER, ERIC                            HOUGHTON MIFFLIN HARCOURT
RENEW INTERNATIONAL                         [ADDRESS REDACTED]                      14046 COLLECTIONS CENTER DRIVE
1232 GEORGE ST.                                                                     CHICAGO, IL 60693
PLAINFIELD, CT 07062




HOWARD HOWARTH                              HPC FOODSERVICE                         HUFFER, KAREN
[ADDRESS REDACTED]                          DEPT NO.385                             [ADDRESS REDACTED]
PO BOX 150473
HARTFORD, CT 06115-0473




HYGENIX, INC DBA                            ICE MILLER LLP                          ICE RINK EATERY
49 WOODSIDE STREET                          ONE AMERICAN SQUARE                     17 WAWECUS HILL ROAD
STAMFORD, CT 06902                          SUITE 2900                              NORWICH, CT 06360
INDIANAPOLIS, IN 46282-0200




IDCSERVCO BUSINESS SERVICES                 IHSP-DIAPER BANK OF NECT                IKE NDOLO BAND LLC
PO BOX 1925                                 51-53 GROVE STREET                      33 E ALAMEDA DR
CULVER CITY, CA 90232-1925                  PUTNAM, CT 06260                        TEMPE, AZ 85282




IMPERIAL ROOM                               INDEPENDENT BUILDING LLC                INFOSHRED
34 FURNACE STREET                           11 PORACH ROAD                          3 CRAFTSMAN RD
PO BOX 505                                  UNCASVILLE, CT 06382                    EAST WINDSOR, CT 06088-9685
DANIELSON, CT 06239




INLIGHT PROFESSIONAL COUNSELING             INNOVATIVE PRODUCTS                     INSTANTWHIP
SERVICES                                    608 RIVER ROAD                          1535 N CICERO AVE
70 COTTAGE STREET                           LISBON, CT 06351                        CHICAGO, IL 60651
DANIELSON, CT 06239




INSTITUTE ON RELIGIOUS LIFE                 INTEGRATED SECURITY SOLUTIONS, INC      INTERFAITH HUMAN SERVICES OF PUTNAM
PO BOX 7500                                 388 BUTLERTOWN RD                       53 GROVE ST
LIBERTYVILLE, IL 60048-7500                 OAKDALE, CT 06370                       PUTNAM, CT 06260




INTERNAL REVENUE SERVICE                INTERNAL REVENUE SERVICE             INTROVIGNE, REVEREND RAYMOND [ADDRESS
CENTRALIZED INSOLVENCY OPERATION        OGDEN, UT 84201-0038                 REDACTED]
2970 MARKET ST
MAIL STOP 5 Q30 133
PHILADELPHIA, PA 19104-5016



IONIC TURBO PRO                             IRENE'S FAMILY RESTAURANT               IRVING, REVEREND FRED
PO BOX 9169                                 58 TOWN STREET                          301 BUDDINGRON RD #35
VAN NOYS, CA 91409                          NORWICHTOWN, CT 06360                   GROTON, CT 06360
         Case 21-20687
I-SAFE, INC.
                               Doc 11    Filed 07/16/21 Entered 07/16/21 19:21:10
                                          ITALIA & LEMP, INC.
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                                                                             IT'S ABOUT TIME PRODUCTIONS
5900 PASTEUR COURT                         SIX CENTRAL ROW                        125C SCHOOL STREET
STE. 100                                   3RD FLOOR                              NORWICH, CT 06360
CARLSBAD, CA 92008                         HARTFORD, CT 06103




IVES BROTHERS                              J & J FLOORING                         J. ALEXANDER BODKIN, MD
1244 REAR MAIN ST.                         PO BOX 18                              115 MILL STREET
WILLIMANTIC, CT 06226                      SCOTLAND, CT 06264                     BELMONT, MA 02478




JACOB TROY                                 JAKE'S MOWIN' & MORE                   JAMES A. DOHERTY, INC.
548 PUMPKIN HILL ROAD                      166 EASTFORD ROAD                      1416 PENN AVENUE
LEDYARD, CT 06339                          ASHFORD, CT 06278                      PO BOX 182
SCRANTON, PA 18509




JANE O'FRIEL                    JANIK, MONSIGNOR LESZEK [ADDRESS          JANNEY MONTGOMERY SCOTT, LLC
[ADDRESS REDACTED]              REDACTED]                                 CAPITAL WEALTH ADVISORS
                                                                          ATTN: NED MANUAL
                                                                          15 N. MAIN STREET, SUITE 300
                                                                          WEST HARTFORD, CT 06107



JASMIN, MARIANNE                           JASON BAKOULIS                         JASON W. DERAMO
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




JAYNE DOUGHERTY                            JCDPU ELECTRIC                         JEAN WILCZYNSKI
[ADDRESS REDACTED]                         9 EAST MAIN STREET                     [ADDRESS REDACTED]
JEWETT CITY, CT 06351




JEANNE BONIN                               JED GIBBONS DESIGN                     JEFFREY R. MCCALL
[ADDRESS REDACTED]                         1455 N. SANDBURG TERRACE STE           [ADDRESS REDACTED]
1501
CHICAGO, IL 60610




JENN LEE DESIGN                            JENNIFER VASTERLING                    JENNY BREWSTER
225 NEW LONDON TURNPIKE                    [ADDRESS REDACTED]                     [ADDRESS REDACTED]
RICHMOND, RI 02898




JEROME MAYES                               JERRY'S APPLIANCE INC.                 JESSICA M. SCHLASK
[ADDRESS REDACTED]                         297 CENTRAL AVE                        [ADDRESS REDACTED]
NORWICH, CT 06360




JEWETT CITY DEPT OF PUBLIC UTILITIES       JHU PRESS                              JIMENEZ, DEBRA
9 E MAIN ST                                PO BOX 19966                           [ADDRESS REDACTED]
JEWETT CITY, CT 06351                      BALTIMORE, MD 21211-0966
JOAN COOKCase 21-20687       Doc 11   Filed
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                                            PAGLIUSO    Entered 07/16/21 19:21:10    Page 21 of 50
                                                                             JOAN PALMER
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




JOANN SHINE                            JOE D'S PIZZA                         JOHN B ANGOTTI
[ADDRESS REDACTED]                     37 MAIN STREET                        [ADDRESS REDACTED]
JEWETT CITY, CT 06351




JOHN BANKER                            JOHN CAMPBELL                         JOHN D. STIEFEL, III
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




JOHN JOHNSON ART                       JOHN K. LEECOCK                       JOHNSON, CINDY
PO BOX 123                             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
COLLINSVILLE, CT 06022




JOHNSON, MARK                          JOHNSON, MICHAEL DAVID                JORGE LATORRE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




JOSEPH GERVAIS                         JOSEPHINNUM DIACONATE INSTITUTE       JUDY PAPPAGALLO
[ADDRESS REDACTED]                     7625 NORTH HIGH STREET                [ADDRESS REDACTED]
COLUMBUS, OH 43235




JULIA GERMANAKOS                       JUNE GETCHIUS                         K&H TOOL RENTAL, LLC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    1221 NORWICH ROAD
                                                                              PLAINFIELD, CT 06374




KANDRA, GREGORY J                      KAREN HOPENWASSER, MD                 KATHE OUELLETTE
[ADDRESS REDACTED]                     325 WEST 86TH ST. #1B                 [ADDRESS REDACTED]
NEW YORK, NY 10024




KATHERINE CORCORAN                     KATHERINE KING                        KATHLEEN AVERY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




KATHLEEN E. GARNET, PH.D.              KATHRIN DZIMIAN                       KATHY GAITO
COONEY, SCULLY AND DOWLING             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
10 COLUMBUS BOULEVARD
HARTFORD, CT 06106
         Case 21-20687
KEAST, PETER
                              Doc 11   Filed 07/16/21 Entered 07/16/21 19:21:10
                                        KEITH'S APPLIANCE
                                                                                   Page 22 of 50
                                                                           KELLOGG & SOVEREIGN CONSULTING
[ADDRESS REDACTED]                      320 W. THAMES STREET                 1101 S STADIUM DR.
ROUTE 32                                                                     ADA, OK 74820
NORWICH, CT 06360




KELLY WATKINS                           KELLY, KATHLEEN                      KELSEY DOHERTY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KEN TEDESCHI                            KENDZIA, MARY CAROL                  KENNEDY, MOST REV. ARTHUR L.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KENNEDY-PERKINS OPTICIANS               KENNETH LEE                          KEVIN REGAN
80 WHITNEY AVE                          [ADDRESS REDACTED]                   [ADDRESS REDACTED]
80 WHITNEY AVE, CT 06510




KEYBANK                                 KHOI TON                             KINCY, KIM
PO BOX 94831                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CLEVELAND, OH 44101-4831




KINGSTON, GAIL A                        KISSINGER, BRIAN                     KLANCY MARTIN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




KLEEMANN SERVICE CENTER                 KLEEMANN SERVICE CENTER              KONOPKA, REVEREND EDWARD M.
401 N MAIN ST                           401 NORTH MAIN STREET                [ADDRESS REDACTED]
401 N MAIN ST, CT 06360                 NORWICH, CT 06360




KORENKIEWICZ, DONALD                    KOWALSKY, JEANNE                     KRAMER, NICOLE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




LAFLAMME, NORMAND J                     LAMPHERE, DANIEL                     LANGEVIN, PETER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




LANTERN LIGHT MINISTRIES                LAPORTE, CARL                        LARACY PSYCHOTHERAPY, LLC
SISTERS OF THE PRESENTATION             [ADDRESS REDACTED]                   6917 ARLINGTON ROAD
1802 TULANE AVENUE                                                           SUITE 303
NEW ORLEANS, LA 70112                                                        BETHESDA, MD 20814
          Case 21-20687
LAROCQUE, REV MSGR RICHARD P.
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                                         LARRY GAREAU
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                                                                                LAVERNE BERTIN
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




LAWN CARE ETC.                           LAWN SCIENCE                           LAWRENCE-HAWLEY, DAVID
149 KRUG ROAD                            766 CT-32                              [ADDRESS REDACTED]
PRESTON, CT 06365                        NORTH FRANKLIN, CT 06254




LEE ROESSLER MUSIC                       LEE-VILLARREAL, LYDIA                  LEONA GAGNON
557 POPLAR THICKET ROAD                  [ADDRESS REDACTED]                     [ADDRESS REDACTED]
ALEXANDRIA, KY 41001




LESLIE M. LOTHSTEIN, P.H. D.             LETTER CONCEPTS, INC                   LIBERTY INC.
[ADDRESS REDACTED]                       33 MASSIRIO DR                         426 EAST MAIN STREET
BERLIN, CT 06037                                                                NORWICH, CT 06360




LIBERTY RENTALS PARTY CENTER             LIFE TEEN INC                          LIFE
1174 KINGSTOWN ROAD                      6105 BLUE STONE ROAD                   112 MELAINE LANE
PEACE DALE, RI 02883                     SUITE B                                COLCHESTER, CT 06415
ATLANTA, GA 30328




LIFT MINISTRIES                          LIGHTEN UP! MINISTRIES, LLC            LIGHTHOUSE SERVICES, LLC
10 GRANITE STREET                        PO BOX 88166                           1710 WALTON ROAD
DEDHAM, MA 02026                         COLORADO SPRINGS, CO 80908             SUITE 204
BLUE BELL, PA 19422




LILLIAN GLENNON                          LILLIAN JEZNACH                        LIMKEMANN, ELIZABETH
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




LINDA GERLIP                             LINDA HAYES                            LINDA NORTON
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




LISA COLLISON                            LISA HENDEY                            LISBON FIRE DEPARTMENT
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     7 NEWENT ROAD
LISBON, CT 06351




LITIGATION PARTIES 1-51                  LITIGATION PARTIES 52-55              LITIGATION PARTY 56 FRANK
PATRICK TOMASIEWICZ, ESQ.                KELLY E. REARDON, ESQ                 C. BARTLETT, JR BARTLETT
FAZZANO & TOMASIEWICZ,                   THE REARDON LAW FIRM, P.C.            LEGAL GROUP LLC 36
LLC 96 OAK STREET                        160 HEMPSTEAD ST                      WALLINGFORD ROAD
HARTFORD, CT 06106                       NEW LONDON, CT 06320                  CHESHIRE, CT 06410
          Case 21-20687
LITURGY TRAINING  PUBLICATIONS Doc   11   Filed 07/16/21
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                                                                                 LOEWS CORONADO   of 50
3949 S RACINE AVE                          PO BOX 295                            4000 LOEWS CORONADO BAY RD
CHICAGO, IL 60609                          WINDHAM, CT 06280                     CORONADO, CA 92118




LONG ISLAND CATHOLIC                       LORD PROPERTIES                       LORI'S DELI/LORI POUNCH
PO BOX 9000                                ATTN JEFF LORD                        31 TOWN ST
ROOSEVELT, NY 11575-9000                   241 MAIN STREET                       NORWICH, CT 06360
NORWICH, CT 06360




LOUISE LAMOTHE                             LOWNEY, DR. JEREMIAH J.               LOYOLA PRESS
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    3441 N ASHLAND AVE
CHICAGO, IL 60657




LUKE MURPHY                                LYNN M. WILSON                        LYNNE C. SITTON
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]




M. WALENTA ENTERPRISES, LLC                MACK'S CATERING                       MACKY LLC
290 BLACK HILL RD                          773 QUINEBAUG RD                      5218 E TRUMAN RD, KANSAS CITY, MO 64127
PLAINFIELD, CT 06374-1450                  QUINEBAUG, CT 06262                   KANSAS CITY, MO 64127




MAD SCIENCE                                MADISON FLOWER GARDEN CENTER          MAGEE-CORVO, LISA
1404 BARNUM AVE                            376 DURHAM ROAD                       [ADDRESS REDACTED]
#2                                         MADISON, CT 06355
STRATFORD, CT 06614




MAHONEY SABOL & CO., LLP                   MAHONEY, MARY ELLEN                   MAJKOWSKI, JR., EDWARD JON
213 COURT ST                               [ADDRESS REDACTED]                    [ADDRESS REDACTED]
MIDDLETOWN, CT 06457




MALTA, INC.                                MAPLE PRINT SERVICES                  MAPLELEAF PROMOTIONS
210 BROADWAY                               39-1/2 WEDGEWOOD DRIVE                2916 WALDEN AVENUE
CAMBRIDGE, MA 02139                        BOX 199                               SUITE 400
JEWETT CITY, CT 06351                                                            DEPEW, NY 14043-2610




MARC BENJAMIN                              MARIA DICKSON                         MARIE JOSEPH SPIRITUAL CENTER
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    10 EVANS ROAD
BIDDLEFORD, ME 04005




MARIE W YNN                                MARK AZZARA                           MARK O'NEILL
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
           Case 21-20687
MARK ROSZCZEWSKI              Doc 11   Filed 07/16/21
                                         MARSAL STUDIOS Entered 07/16/21 19:21:10
                                                                             MARSHALLPage  25 of 50
                                                                                      RAND PUBLISHING
[ADDRESS REDACTED]                      1587 BOSTON POST ROAD                 PO BOX 1849
B5                                                                            ROYAL OAK, MI 48068
WESTBROOK, CT 06498




MARTIN HOUSE                            MARTIN, KELLY                         MARTIN, REVEREND PATRICK
ROUTE 12                                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
PO BOX 857
NORWICH, CT 06360




MARY ANN LIEBERT PUBISHER               MARY ANNE STEWART                     MARY BETH LEE
INCORPORATED                            [ADDRESS REDACTED]                    [ADDRESS REDACTED]
140 HUGUENOT STREET THIRD FLOOR
NEW ROCHELLE, NY 10801




MARY ELLEN MAHONEY                      MARY HOTKOWSKI                        MARY JANE KREBBS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




MARY JO TUNISON                         MARY ROSE MEADE                       MARY SCHIANO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




MARY TAURO                              MARY THEADORE                         MARY TUNISON
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




MARYANNE LEONE                          MARYLOU GANNOTTI                      MASSACHUSETTS GENERAL PHYSICIANS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    4TH AVE
BOSTON, MA 02129




MASTERCRAFT CONSTRUCTION                MASTERCRAFT FENCE                     MATHEW JOHNSON
125 HUNTERS AVENUE                      125 HUNTERS AVENUE                    [ADDRESS REDACTED]
TAFTVILLE, CT 06380                     TAFTVILLE, CT 06380




MATT MCDONALD                           MATTHEW T. O'BRIEN                    MATTHEWS CATERING COMPANY LLC
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    15 MAIN ST
PLAINFIELD, CT 06374




MAUS & SON, INC                         MAXWELL, BRIAN                        MAYES, JEROME
628 TOWN ST                             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
MOODUS, CT 06469
          Case 21-20687
MCBRIDE WAYSIDE CARPET CO.
                                Doc 11   Filed 07/16/21 Entered 07/16/21 19:21:10
                                           MCCLINTOCK ROOFING
                                                                                    Page 26 of 50
                                                                             MCCONAGHY, REV. THOMAS
3153 BERLIN TURNPIKE                      1142 WINDHAM ROAD                   [ADDRESS REDACTED]
NEWINGTON, CT 06111                       SOUTH WINDHAM, CT 06266




MCDONALD, MATT                            MCENTEE, AMY S.                     MCGANN, III, WILLIAM H.
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  12 NUGGET HILL DRIVE
GALES FERRY, CT 06335




MCGRAIL, REVEREND CHARLES                 MCKENNA'S FLOWERS & PLANTS          MCLAUGHLIN, MARY-JO
[ADDRESS REDACTED]                        520 BOSWELL AVE                     [ADDRESS REDACTED]
NORWICH, CT 06360




MCLINDEN, BRIAN                           MCNULTY, REVEREND WILLIAM J.        MDK MECHANICAL, LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  102 ROUTE 32
NORTH FRANKLIN, CT 06254




MEDCONN                                   MELESSA EGHERT                      MELISSA A. MONTANARI
PO BOX 359                                [ADDRESS REDACTED]                  [ADDRESS REDACTED]
2049 SILAS DEANE HIGHWAY #3-5
ROCKY HILL, CT 06067




MERCIERI, REV DENNIS J.                   MERCIFUL SAVIOR GIFT SHOP           MERCY CENTER
[ADDRESS REDACTED]                        392 S MAIN ST                       167 NECK ROAD
COLCHESTER, CT 06415                                                          MADISON, CT 06443




MERCY HIGH SCHOOL                         MERCYSONG                           MEREDITH MORRISON
1740 RANDOLPH RD                          W5180 JEFFERSON STREET              [ADDRESS REDACTED]
MIDDLETOWN, CT 06457                      NECEDAH, WI 54646




MICHAEL BRAMEL, PSY.D                     MICHAEL CASTIBLANCO                 MICHAEL GANNON
203 BRENT ROAD                            [ADDRESS REDACTED]                  [ADDRESS REDACTED]
FAIRFIELD, PA 17320




MICHAEL GORMLEY                           MICHAEL JOHNSON                     MICHAEL JOHNSON
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




MICHAEL LIANOS                            MICHAEL STRAMMIELLO                 MIDDLESEX CARDIOLOGY ASSOCIATE, P.C.
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  14 JONES HOLLOW RD
MARLBOROUGH, CT 06447
MIDDLESEXCase  21-20687
          HOSPITAL GROUP     Doc 11   Filed 07/16/21
                                       MIDDLESEX       Entered
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                                                                                MIDDLESEX      27WAY
                                                                                          UNITED  of 50
28 CRESCENT ST                         540 SAYBROOK ROAD                       100 RIVERVIEW CENTER
MIDDLETOWN, CT 06457                   SUITES 100A AND 100B                    SUITE 230
MIDDLETOWN, CT 06457                                                           MIDDLETOWN, CT 06457




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MIDDLETOWN, CT 06457




MILAGROS LINARES                       MILES KEDEX COMPANY, INC                MILESKI, L PHRED
[ADDRESS REDACTED]                     1 ROWTIER DRIVE                         [ADDRESS REDACTED]
WESTMINSTER, MA 01473




MILOT, GEORGE A.                       MILUKAS, MARCUS                         MIND YOUR BUSINESS
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      305 E. 8TH AVENUE
HENDERSONVILLE, NC 28792




MIND YOUR BUSINESS, INC.               MINUTEMAN PRESS                         MISION 2000
305 8TH AVE E                          512 MAIN ST #2810                       4531 E. ALTA MESZ AVENUE
HENDERSONVILLE, NC 28792               #2810                                   PHOENIX, AZ 85044
MIDDLETOWN, CT 06457




MOLLY MURKETT                          MONET'S TABLE                           MONGEAU PRODUCTIONS, LLC
[ADDRESS REDACTED]                     PO BOX 502                              45 FLYER ROAD
TOLLAND, CT 06084                                                              EAST HARTLAND, CT 06027




MONICA TROTOCHAUD                      MONIQUE PHELAN                          MONSIGNOR JAMES P. CARINI
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




MORALES, JOSE                          MORGAN STANLEY                          MORGAN STANLEY
[ADDRESS REDACTED]                     1585 BROADWAY                           ATTN: JUDITH CONSTANTINE
NEW YORK, NY 10036                                                             1550 MARKET ST SUITE 600
DENVER, CO 80202




MORIARTY, TANJA                        MOST REV. JOSEPH PERRY                  MOST REV. RICHARD MALONE, D.D.
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                      [ADDRESS REDACTED]




MOTHER M. CHRISTINA VAN BECK, SCMC     MOULTON SOUND                           MOUNT SAINT MARY'S SEMINARY
[ADDRESS REDACTED]                     42 HELAINE ROAD                         16300 OLD EMMITSBURG RD
MANCHESTER, CT 06040                                                           EMMITBURG, MD 21727
MOVIN WITHCase   21-20687
           THE SPIRIT           Doc 11   Filed
                                           MR. &07/16/21
                                                 MRS. JOHN A. Entered
                                                              PECK    07/16/21 19:21:10     Page
                                                                                   MR. & MRS.      28 MURRAY
                                                                                              STEPHEN of 50
PO BOX 238                                 [ADDRESS REDACTED]                       [ADDRESS REDACTED]
COLUMBIA, CT 06237




MR. TROPHY, LLC                            MSGR. CHARLES MURPHY                     MSGR. ROBERT J. ROMANO
330 LOCUST STREET                          DIOCESE OF PORTLAND                      OUR LADY OF GUADALUPE CHURCH
HARTFORD, CT 06114                         510 OCEAN AVENUE                         7201 15TH AVENUE
PORTLAND, ME 04104                                                                  BROOKLYN, NY 11228




MUELLER, CHRISTOPHER JOHN                  MULLER LAW, LLC                          MURPHY, LUKE
[ADDRESS REDACTED]                         155 SOUTH MAIN STREET                    [ADDRESS REDACTED]
SUITE 101
PROVIDENCE, RI 02903




MURTHA CULLINA LLP                         MUSCARELLA, JOSEPH                       MY CATHOLIC FAITH DELIVERED
CITYPLACE 1                                [ADDRESS REDACTED]                       12603 HEMLOCK SUITE C
185 ASYLUM STREET                                                                   OVERLAND PARK, KS 66213
HARTFORD, CT 06103-3469




MYSTIC AIR QUALITY CONSULTANTS, INC        MYSTIC FIRE DEPARTMENT                   MYSTIC MARRIOTT HOTEL
1204 NORTH ROAD                            34 BROADWAY AVE                          625 N RD
GROTON, CT 06340                           MYSTIC, CT 06355                         GROTON, CT 06340




NACFLM                                     NADD                                     NADEAU, JENNIFER
PO BOX 23                                  10945 STATE BRIDGE ROAD                  [ADDRESS REDACTED]
ALPHA, OH 45301                            SUITE 401-122
ALPHARETTA, GA 30022




NADUVILEKOOT, AUGUSTINE                    NANCY DELACRUZ                           NANCY HEBBEN, PH.D.
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       50 FAIRHAVEN ROAD
NEWTON, MA 02459




NANCY J. PROCHORENA                        NATIONAL COMMITTEE FOR A HUMAN           NATIONAL COUNCIL OF CATHOLIC WOMEN
[ADDRESS REDACTED]                         LIFE AMENDMENT                           200 N GLEBE RD
1500 MASSACHUSETTS AVE NW #24                                                       #725
WASHINGTON, DC 20005                                                                ARLINGTON, VA 22203




NATIONAL FEDERATION OF PRIESTS'       NATIONAL PEN CORPORATION 342          NATIONAL REGISTER PUBLISHING
COUNCILS                              SHELBYVILLE MILLS RD                  PO BOX 404192
333 N. MICHIGAN AVE.                  SHELBYVILLE, TN 37160                 ATLANTA, GA 30384
SUITE 1114
CHICAGO, IL 60601



NCA                                        NCCHM                                    NCCS
500 PLAZA MIDDLESEX                        PO BOX 982                               P.O.BOX 152079
MIDDLETOWN, CT 064587                      CHICAGO, IL 60690                        IRVING, TX 75015
NCDVD     Case 21-20687          Doc 11   Filed
                                            NCEA07/16/21     Entered 07/16/21 19:21:10    Page 29 of 50
                                                                                  NCHLA PUBLICATIONS
440 WESTNECK ROAD                          PO BOX 220101                          PO BOX 2034
HUNTINGTON, NY 11743                       CHANTILLY, VA 20153-0101               ANNAPOLIS, MD 20701




NCS PEARSON, INC.                          NCVR                                   NEAL MELLEY
13036 COLLECTION CENTER DRIVE              ARCHDIOCESE OF HARTFORD                [ADDRESS REDACTED]
CHICAGO, IL 60693                          134 FARMINGTON AVENUE
HARTFORD, CT 06105




NECDDRE                                    NED F. SMITH                           NEW BRITIAN ROCK CATS
C/O DIOCESE OF MANCHESTER                  [ADDRESS REDACTED]                     ATTN: STEVE GIVEN
153 ASH STREET                                                                    PO BOX 1718
MANCHESTER, NH 03104                                                              NEW BRITAIN, CT 06051




NEW ENGLAND AWARDS                         NEW ENGLAND CATHOLIC YOUTH CONF.       NEW ENGLAND DIRECTORS OF YOUTH
PO BOX 43                                  SR. BERNARD                            MINISTRY
47 ROUTE 171                               146 HARRINGTON AVENUE                  1 CATHEDRAL SQUARE
SO. WOODSTOCK, CT 06267                    MANCHESTER, CT 03103                   PROVIDENCE, RI 02903




NEW ENGLAND YANKEE CONSTRUCTION,           NEW LIFE MINISTRIES, OLD LYME          NEW LIFE MINISTRY
LLC                                        1 MCCURDY RD                           C/O MRS. ANN PERROTT
PO BOX 5395                                OLD LYME, CT 06371                     PO BOX 871
MILFORD, CT 06460                                                                 OLD LYME, CT 06371




NEW LIFE PRISON MINISTRY                   NEW YORK STATE THRUWAY                 NGUYEN, REV. JOSEPH D.
15 CUTLER ROAD                             PO BOX 15186                           [ADDRESS REDACTED]
OLD LYME, CT 06371                         ALBANY, NY 12212




NICHOLAS, MARIANNE S.                      NICK GRAZIANO                          NIMS, VINCENT
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                     [ADDRESS REDACTED]




NINA ROMERO-CARON                          NORTHEAST SECURITY SOLUTIONS, INC      NORWICH CHAMBER OF COMMERCE
[ADDRESS REDACTED]                         33 SYLVAN STREET                       112 MAIN STREET
SUITE 1                                                                           NORWICH, CT 06360
WEST SPRINGFIELD, MA 01089




NORWICH DEPT. PUBLIC UTILITIES             NORWICH DIOCESAN CEMETERY CORP.        NORWICH MEDICAL ASSOCIATES
173 N MAIN ST                              815 BOSWELL AVENUE                     12 CASE STREET
NORWICH, CT 06360                          NORWICH, CT 06360                      NORWICH, CT 06360




NORWICH OPHTHALMOLOGY GROUP                NORWICH PUBLIC SCHOOLS                 NORWICH TAX COLLECTOR
9 WAWECUS ST                               90 TOWN STREET                         NORWICH CITY HALL BDG, 100 BROADWAY
#105                                       NORWICH, CT 06360                      UNIT 12
NORWICH, CT 06360                                                                 NORWICH, CT 06360
NOTRE DAMECase  21-20687
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                                                                                  NRP DIRECT
NOTRE DAME COUNCIL KOFC 12289               24 PARKER ROAD                        PO BOX 743140
272 MAIN STREET                             MARLBOROUGH, CT 06447                 ATLANTA, GA 30374-3140
DURHAM, CT 06422




NUTMEG BROADCASTING                         NUTMEG TOOL & PRODUCTS                OBLATES OF ST. FRANCIS DE SALES
720 MAIN STREET                             5 SHINGLE POINT RD                    ATTN TREASURER
WILIMANTIC, CT 06226                        PRESTON, CT 06365                     721 LAWRENCE STREET, N.E.
WAHINGTON, DC 20017




OCCUM PIZZA                                 OCEAN BLUE CATERING AT MYSTIC         OCP
30 TAFTVILLE-OCCUM RD                       55 COOGAR BLVD                        PO BOX 18030
NORWICH, CT 06360                           MYSTIC, CT 06355                      PORTLAND, OR 972180030




OCSJM                                       OFFICE FOR CAMPUS MINISTRY            OFFICE FOR HISPANIC MINISTRY
467 BLOOMFIELD AVENUE                       OPERATING SUPPLIES                    61 CLUB ROAD
BLOOMFIELD, CT 06002                        NEWMAN HALL, 290 PROSPECT ST.         WINDHAM, CT 06280
WILLIMANTIC, CT 06226-2304




OFFICE FOR THE NEW EVANGELIZATION           OFFICE OF EDUCATION                   OFFICE OF EDUCATION
OF YOUTH AND YOUNG ADULTS                   EVANGELIZATION & CATECHESIS           EVANGELIZATION AND CATECHESIS
66 BROOKS DRIVE                             467 BLOOMFIELD AVENUE                 467 BLOOMFIELD AVENUE
BRAINTREE, MA 02184                         BLOOMFIELD, CT 06002                  BLOOMFIELD, CT 06002




OFFICE OF FAITH EVENTS                      OFFICE OF RADIO & TELEVISION          OFFICE OF THE ATTORNEY GENERAL
BISHOP FLANAGAN MINISTRY CENTER             DAILY TELEVISION MASS                 450 MAIN STREET
199 BROADWAY                                ARCHDIOCESE OF HARTFORD               ROOM 328
NORWICH, CT 06360                           15 PEACH ORCHARD RD                   HARTFORD, CT 06106
                                            PROSPECT, CT 06712-1052



OFFICE OF THE UNITED STATES TRUSTEE         OGBORNE, ALEC                         OLD SAYBROOK FOOD SERVICE
ATTN: KIM MCCABE                            [ADDRESS REDACTED]                    50 SHEFFIELD STREET
150 COURT STREET, STE 302                                                         OLD SAYBROOK, CT 06475
NEW HAVEN, CT 06510




ONE HEART MINISTRY                          ONE LICENSE                           ONE VOICE MEDIA
BISHOP FLANAGAN MINISTRY CENTER             7343 S. MASON AVENUE                  DBA ONE VOICE MEDIA
199 BROADWAY                                CHICAGO, IL 60638                     PO BOX 101
NORWICH, CT 06360                                                                 OTISVILLE, NY 10963




OPUS SANCTORUM ANGELORUM                    ORIALIS SOSTRE                        OSPINO, HOSFFMAN
13800 GRATIOT AVENUE                        165 AIRLINE AVENUE                    62 BRUCE ROAD
DETROIT, MI 48205                           PORTLAND, CT 06480                    WALTHAM, MA 02453




OSTAFIN, DAVID M.                           O'SULLIVAN, DAN                       OTIS ELEVATOR COMPANY
[ADDRESS REDACTED]                          [ADDRESS REDACTED]                    PO BOX 905454
                                                                                  CHARLOTTE, NC 28290-5454
         Case 21-20687         Doc 11   Filed 07/16/21     Entered 07/16/21 19:21:10
OUR LADY OF MERCY PARISH CORPORATION OUR LADY OF SORROWS CORPORATION
                                                                                        Page 31 of 50
                                                                                OUR LADY OF SORROWS
272 MAIN STREET                         ESSEX, CONNECTICUT                      14 PROSPECT ST
DURHAM, CT 06422                        14 PROPSPECT STREET                     ESSEX, CT 06426-1049
ESSEX, CT 06426




OUR LADY QUEEN OF PEACE CORPORATION      OUR SUNDAY VISITOR                     OUTREACH TO HAITI
46 N EAGLEVILLE RD                       PO BOX 4013                            815 BOSWELL AVENUE
STORRS, CT 06268                         CAROL STREAM, IL 60197-4013            NORWICH, CT 06360




OVERHEAD DOOR CO. OF NORWICH, INC.       P&J SPRINKLER COMPANY, INC.            PADGETT, CHRISTOPHER M.
88 POQUETANUCK RD                        67 MAIN STREET                         1602 COUNTY
PRESTON, CT 06365                        WILLIMANTIC, CT 06226                  ROUTE 23
CONSTANCIA, NY 13044




PALM TREE CREATIVE LLC                   PAMELA LYNCH                           PAMELA PLASSE
236 MARGARITE ROAD                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
MIDDLETOWN, CT 06457




PANDOLFE, ALEXANDER                      PAPPAGALLO, TED                        PARADISO & MUSKA, LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     PO BOX 22
                                                                                 STAFFORD SPRINGS, CT 06076




PARTNERS IN COUNSELING LLC               PATH P.C.                              PATRICK O'GRADY
387 TUCKIE ROAD                          675 TOWER AVENUE                       [ADDRESS REDACTED]
SUITE D                                  SUITE 301
NORTH WINDHAM, CT 06256-1355             HARTFORD, CT 06112




PATRICK WILLIAMS                         PATRIOT ENVELOPE, LLC                  PATTEN, JILL
[ADDRESS REDACTED]                       PO BOX 290271                          [ADDRESS REDACTED]
WETHERSFIELD, CT 06129-0271




PAUL ALTHOUSE                            PAUL COVINO                            PAUL DESCHENES
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




PAUL J. SULLIVAN                         PAUL MELLEY                            PAUL W. LUSSIER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




PAULA ENGLER                             PAULINA D ANGULO                       PAULINE ROWE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]
          CaseAND
PAUL'S TV SALES  21-20687
                    SERVICE     Doc 11   Filed 07/16/21
                                           PAYCOR            Entered 07/16/21 19:21:10     PageP.C.
                                                                                  PEASE & DORIO, 32 of 50
156-158 BRIDGE STREET                      4811 MONTGOMERY ROAD                      316 MAIN ST
GROTON, CT 06340                           CINCINNATI, OH 45212                      FRAMINGTON, CT 06032




PELLETIER, ALICE                  PEOPLE'S UNITED BANK                    PEOPLE'S UNITED BANK
[ADDRESS REDACTED]                LINEHAN, PETER                          SCOTT D ROSEN
                                             ONE FINANCIAL PLAZA          COHN BIRNBAUM & SHEA, P.C. 100 PEARL
                                              HARTFORD, CT 06103          STREET HARTFORD, CT 06103



                                                                          PERSONNEL CONCEPTS
PEOPLES UNITED BANK, N.A.         PERKINS, DENNIS                         COMPLIANCE SER. DEPT. PO BOX
PETER LINEHAN                     [ADDRESS REDACTED]                      3353
225 ASYLUM STREET                                                         SAN DIMAS, CA 91773
HARTFORD,
PETER      CT 06103
      PAN BUS  LINES                       PFLAUM PUBLISHING GROUP                   PHILIP PIETRAS
PO BOX 1776                                2621 DRYDEN ROAD                          [ADDRESS REDACTED]
SPRINGFIELD, MA 01102-1776                 DAYTON, OH 45439




PICCHIONI, ALINE                           PIELA ELECTRIC, INC                       PIOLI PSYCHOLOGICAL SERVICES
[ADDRESS REDACTED]                         16 HALLS MILL RD                          50 SANFORD DR
PRESTON, CT 06365                                                                    EASTON, CT 06612




PITNEY BOWES GLOBAL FINANCIAL              PITNEY BOWES                              POMFRET COMMUNITY SCHOOL - ST JAMES
SERVICES                                   27 WATERVIEW DRIVE                        1249 HARTFORD PIKE
101 LOCUST ST                              SHELTON, CT 06484                         KILLINGLY, CT 06243-1810
HARTFORD, CT 06114




POPE ST. JOHN XXIII NATIONAL SEMINARY      PORT AUTHORITY OF NY AND NJ               PRAESIDIUM INC
558 SOUTH AVENUE                           VIOLATIONS PROCESSING CENTER              ATTN: CHRISTY SCHILLER
WESTON, MA 02493                           PO BOX 15186                              2225 E RANDOL MILL RD., STE 630
ALBANY, NY 12212-5186                                                                ARLINGTON, TX 76011




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PRO PLUMBING                               PRO TRAXX, INC                            PROFORMA S & G ASSOCIATES
29 FERRY VIEW DRIVE                        2367 CONGRESS STREET                      PO BOX 640814
GALES FERRY, CT 06335                      PORTLAND, ME 04102                        CINCINNATI, OH 45264




PROSPECT MANCHESTER HOSPITAL               PROVINCE OF ST. MARY                      PSAV
FILE 2190                                  5 HILLHOUSE AVE                           350 TROLLEY LINE BLVD,
1801 W OLYMPIC BLVD                        NEW HAVEN, CT 06511                       MASHANTUCKET, CT 06338
PASADENA, CA 91199-2190
            Case
PUCHALSKI MD,      21-20687
              CHRISTINA M      Doc 11   Filed 07/16/21
                                         PULLMAN         Entered 07/16/21 19:21:10
                                                 AND COMLEY                   PURCHASEPage 33 of 50
                                                                                       POWER
901 N.MONROE STREET #1207                850 MAIN STREET                     PO BOX 371874
ARLINGTON, VA 33302                      BRIDGEPORT, CT 06601-7006           PITTSBURGH, PA 15250-7874




QUEEN BEE'S OIL                          QUILL.COM                           QUINN AND HARY MARKETING
PO BOX 96                                PO BOX 37600                        PO BOX 456
TAFTVILLE, CT 06380                      PHILADELPHIA, PA 19101              147 STATE STREET
NEW LONDON, CT 06320




  R. C. BISHOP OF                        R. H. O'CONNELL PAINTING            RABBI ELI OSTROZYNSKI
  WORCESTER DIOCESE OF                   DBA R.H. O'CONNELL PAINTING         309 NORTH MAIN STREET
  WORCESTER 49 ELM STREET                BOX 95                              WEST HARTFORD, CT 06117
  WORCESTER, MA 01609                    322 OTROBANDO AVE
                                         YANTIC, CT 06389



  RACHEL CASEY                           RAD COMPUTING                       RADIOLOGIC ASSOCIATES OF MIDDLETOWN
  [ADDRESS REDACTED]                     281 HARTFORD TURNPIKE UNIT 201      57 S MAIN ST
                                         VERNON, CT 06066                    MIDDLETOWN, CT 06457




  RAINBOW CONSULTING SERVICES            RALPH POYO                          RAMEN, REV PAUL F.
  47392 DARKHOLLOW FALLS TERRACE         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
  STERLING, VA 20165




  RAMIREZ, FERNEY                        RAMOS, JACOB M                      RANDALL, KEVIN S.
  [ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




  RAY, COOPER                            RAYMOND, GINA                       RBS CITIZENS
  [ADDRESS REDACTED]                     [ADDRESS REDACTED]                  SAVINE, PAUL
  CORPORATE BANKING DIVISION
  209 CHURCH ST., CNH210
  NEW HAVING, CT 06510



  RCBM                                   RCL BENZIGER PUB. GROUP, LLC        RCL-BENZIGER
  CATHOLIC SCHOOL OFFICE                 PO BOX 1840                         PO BOX 710767
  153 ASH STREET                         DUBUQUE, IA 52004-1840              COLUMBUS, OH 43271-0767
  MANCHESTER, NH 03104




REBECCA BATES                            RED BARN MINISTIRES                 RED LION HOTEL
[ADDRESS REDACTED]                       DBA RED BARN MINISTRIES             100 BERLIN ROAD
318 CANDLEWOOD HILL ROAD                                                     CROMWELL, CT 06416
HIGGANUM, CT 06441




REDIKER SOFTWARE                         REDUX PICTURES                      REGION I VOCATION DIRECTORS
2 WILBRAHAM RD                           116 EAST 16TH STREET 12TH FLOOR     FR. DAILEY/DIOCESE OF SPRINGFIELD
HAMPDEN, MA 01036                        NEW YORK, NY 10003                  PO. BOX 1730
SPRINGFIELD, MA 01102
         Case 21-20687
RELIANCE ENVIRONMENTAL LLC   Doc 11    Filed 07/16/21
                                        RELIANCE         Entered 07/16/21 19:21:10
                                                 HOUSE INC.                   RELIGIOUSPage 34TOofDIVINE
                                                                                       OBLATES     50 LOVE
11 OLD FARM RD                          40 BROADWAY                           30 STEWART ROAD
WOODBRIDGE, CT 06525                    NORWICH, CT 06360                     NORWICH, CT 06360




RELIGIOUS                               RENEW INTERNATIONAL, INC.             RESOURCE PUBLICATIONS, INC.
144 W WOOD ST                           1232 GEORGE STREET                    5369 CAMDEN AVE #260
YOUNGSTOWN, OH 44503                    PLAINFIELD, NJ 07062-1717             SAN JOSE, CA 95124-5809




RETIREMENT FUND FOR RELIGIOUS           REV ROLAND CLOUTIER                   REV. ARTHUR ARCHER
NATIONAL RELIGIOUS RETIREMENT OFFICE    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
PO BOX 96988
WASHINGTON, DC 20090-6988




REV. ARUYDAS ZYGAS                      REV. DAVID BARANOWSKI                 REV. DAVID GARCIA
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




REV. FRANK MATERA                       REV. JAMES MAZZONE                    REV. JOSEPH CAVOTO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




REV. KEVIN REILLY                       REV. KEVIN W ALSH                     REV. PAUL TURNER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




REV. RAYMOND INTROVIGNE                 REV. RICHARD J. CLIFFORD, S.J.        REV. ROBERT W ASHABAUGH
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




REV. ROBERT ABBATIELLO                  REV. ROBERT SHERRY                    REV. ROGER LANDRY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




REV. ROGER SCHROEDER, SVD               REV. STEPHEN SLEDESKY                 REV. THOMAS R. HURST, SS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




REV. TIMOTHY O'BRIEN                    REV. WALTER RILEY                     REVEREND ERIK LENHART
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
          CaseGILBERT
REVEREND FRANK  21-20687    Doc 11   Filed 07/16/21
                                      REVEREND        Entered 07/16/21 19:21:10
                                               JUAN AGUIRRE                       Page
                                                                           REVEREND      35 of 50
                                                                                    LUKE BALLMAN
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




REVEREND MICHAEL J. DRURY             REVEREND THOMAS HOAR                 RHODE ISLAND CATHOLIC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   1 CATHEDRAL SQUARE
PROVIDENCE, RI 02903




RHODE ISLAND NOVELTY                  RICCA, ANN                           RICHARD GAUTHIER
5 INDUSTRIAL ROAD                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CUMBERLAND, RI 02864




RICHARD L. SANTELLO                   RICHARD W HEELER                     RICHARDS, REV GEORGE J.
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




RICK GRANT                            RICO ADAMS                           RICOH AMERICAS CORP.
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   21146 NETWORK PLACE
CHICAGO, IL 60673-1211




RICOH USA, INC.                       RIGHT NETWORKS, LLC                  RIGHTTIME MEDICAL CARE
148 W RIVER ST                        14 HAMPSHIRE DRIVE                   PO BOX 6390
PROVIDENCE, RI 02904                  HUDSON, NH 03051                     ANNAPOLIS, MD 21401-0390




RITBA                                 RIVERA, RUBEN                        RIVERA-GONZALEZ, LUIS
PO BOX 437                            [ADDRESS REDACTED]                   [ADDRESS REDACTED]
JAMESTOWN, RI 02835-0437




ROACH, ELIZABETH A.                   ROBBINS, KELLIE                      ROBERT ABEL
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ROBERT AYERS                          ROBERT DRAKE                         ROBERT E. FALES, MD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   85 CHURCH ST
STE 200
MIDDLETOWN, CT 06457




ROBERT MACHER                         ROBERT PALLOTTI                      ROBINSON AND COLE, LLC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   280 TRUMBULL STREET
HARTFORD, CT 06103-3597
         Case 21-20687
ROCCO CELTRUDA                 Doc 11   Filed 07/16/21
                                         RODERICK         Entered 07/16/21 19:21:10
                                                  WILSON, SR                           Page 36 of 50
                                                                               ROGERS, KATHLENE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ROGOVIN MOVING & STORAGE CO., INC.       ROMAN CATHOLIC BISHOP OF MANCHESTER   ROMAN CATHOLIC BISHOP OF SPRINGFIELD
354 COLMAN STREET                        DIOCESE OF MANCHESTER                 65 ELLIOT ST
NEW LONDON, CT 06320                     PO BOX 310                            SPRINGFIELD, MA 01105
MANCHESTER, NH 03105




ROMAN CATHOLIC DIOCESE OF BURLINGTON     ROMANOWSKI, REVEREND BRIAN J.         ROMERO-CARON, NINA
ATTN JEANNE BRUNO OSE                    [ADDRESS REDACTED]                    6 TRIPP HOLLOW ROAD
351 NORTH AVENUE                                                               CANTERBURY, CT 06331
BURLINGTON, VT 05401




ROOKS, TELIA                             ROOT CANDLES                          ROSSETTI, STEPHEN JOSEPH
[ADDRESS REDACTED]                       PO BOX 75596                          126 EAST STREET SE
CLEVELAND, OH 44101-4755                                                       WASHINGTON, DC 20003




ROULEAU, REVEREND FRANCIS C.             RUBEN DARIO GARCIA SANCHEZ            RUFINI, JEREMIAH
[ADDRESS REDACTED]                       MOUNT ST. MARY SEMINARY               [ADDRESS REDACTED]
16300 OLD EMMITSBURG ROAD
EMMITSBURG, MD 21727




SABATINI AND ASSOCIATES LLC              SACRED HEART CHURCH, VERNON,          SACRED HEART EDUCATION CENTER
ONE MARKET SQUARE                        CONNECTICUT                           54 WEST MIAN ST
NEWINGTON, CT 06111                      550 HARTFORD TPKE                     BALTIC, CT 06330
VERNON, CT 06066-5000




SAFELAWNS OF SALEM                       SAF-T-NET, INC.                       SAGRADO CORAZON DE JESUS, INC OF
406 NEW LONDON RD                        4000 WESTCHARE BLVD                   WINDHAM
SALEM, CT 06420                          SUITE 1#190                           61 CLUB ROAD
RALEIGH, NC 27607                                                              WINDHAM, CT 06280




SAINT JOHN PAUL II SCHOOL                SAINT LUKE PRODUCTIONS                SAINT MARY’S CHURCH PORTLAND
87 SOUTH MAIN STREET                     PO BOX 886                            CONNECTICUT
MIDDLETOWN, CT 06457                     BATTLE GROUND, WA 98604               51 FREESTONE AVE
PORTLAND, CT 06480-0307




SALDARRIAGE, SR. GLORIA                  SALEM PRIME CUTS                      SALLIE MAE SERVICING
30 STEWART ROAD                          12 NEW LONDON RD                      PO BOX 4600
NORWICH, CT 06360                        SALEM, CT 06420                       WILKES-BARRE, PA 18773-4600




SALT & LIGHT CATHOLIC MEDIA              SANDERS, GEORGE                       SANDY CALABRO
405 W 59TH ST 3RD FLOOR                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
3RD FLOOR
NEW YORK, NY 10023
         Case 21-20687
SANDY FRIESS                   Doc 11   Filed
                                         SARA07/16/21
                                              KROGER      Entered 07/16/21 19:21:10    Page 37 of 50
                                                                               SARAH HART
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




SARAH KROGER MINISTRIES, LLC             SARAH WANNEMUEHLER                    SAVAGE HARDWARE SUPPLY
2209 FORREST WALK                        [ADDRESS REDACTED]                    192 N. MAIN STREET
ROSWELL, GA 30075                                                              NORWICH, CT 06360-4726




SAVEWAY PETROLEUM                        SAVEWAY PETROLEUM, INC.               SCHOOL SISTERS OF NOTRE DAME
49 S MAIN ST.                            PO BOX 900                            6401 NORTH CHARLES STREET
BROOKLYN, CT 06234                       DANIELSON, CT 06239                   BALTIMORE, MD 21212-1099




SCHROTH SYSTEMS CONSULTING, INC.         SCOTT, ROBYN                          SCPS REGISTRATION SERVICES, NYU
47 SPELLMAN POINT ROAD                   [ADDRESS REDACTED]                    PO BOX 1206
EAST HAMPTON, CT 06424                                                         STUYVESANT STATION
NEW YORK, NY 10009-9988




SEAN FORREST                             SECULAR BRANCH DHS-SOLIDARITY FUND    SELLERS, HORACE
[ADDRESS REDACTED]                       PHYLLIS VIENS                         [ADDRESS REDACTED]
5 THIRD ST EXT
PLAINFIELD, CT 06374




SEQUEIRA, REVEREND MICHAEL               SERVICEMASTER RRESTORATION BY WILLS   SERVICES
[ADDRESS REDACTED]                       26 MONTAUK AVENUE                     80 BROADWAY
NEW LONDON, CT 06320                                                           NORWICH, CT 06360




SHADY ACRE TIRE SERVIC                   SHANNON, WILLIAM S                    SHARFMANS
99 SCHOOL HILL RD                        [ADDRESS REDACTED]                    19 GLENNIE STREET
BALTIC, CT 06330                                                               SUITE B
WORCESTER, MA 01605-3918




SHARON DISILVESTRO                       SHARON GREEN                          SHARPE GROUP
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    855 RIDGE LAKE BLVD
SUITE 300
MEMPHIS, TN 38120




SHEEHAN, DENNIS F                        SHEELER, MARY ELLEN                   SHEILA CERJANEC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




SHELLY WOLF                              SHEPHERDS ADVISOR                     SHERWIN WILLIAMS
[ADDRESS REDACTED]                       5600 BISHOPS BLVD SOUTH               411 WEST MAIN STREET
FARGO, ND 58104-7253                                                           NORWICH, CT 06360
          Case 21-20687
SHERYL SLIGHT
                                 Doc 11   Filed 07/16/21
                                            SHINE, EDWARD
                                                            Entered 07/16/21 19:21:10     Page 38 of 50
                                                                                 SHIPMAN'S FIRE EQUIPMENT CO., INC.
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       172 CROSS RD
WATERFORD, CT 06385




SHUCKEROW, MARYELLEN                       SILVIO CUELLAR                           SIRIUS XM RADIO, INC
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       PO BOX 9001399
LOUISVILLE, KY 40290




SISTER ELISSA RINERE                       SISTER MARY JUDE                         SISTER MONICA MARY
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




SISTER RITA JOHNSON                        SISTERS OF CHARITY                       SISTERS OF ST. JOSEPH OF CLUNY
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                       [ADDRESS REDACTED]




SISTERS OF THE CROSS & PASSION             SITEONE LANDSCAPE SUPPLY LLC             SLIGHT, SHERYL
[ADDRESS REDACTED]                         24110 NETWORK PLACE                      [ADDRESS REDACTED]
CHICAGO, IL 60673-1241




SMALL CHRISTIAN COMMUNITIES                SMB CREATIVE GROUP                       SMITH, REVEREND THOMAS J.
467 BLOOMFIELD AVENUE                      11780 MANCHESTER ST                      [ADDRESS REDACTED]
BLOOMFIELD, CT 06002                       #307
ST LOUIS, MO 63131




SMITH, THOMAS                              SMITHS AUTO SALES                        SOCIETY OF THE PROP. OF FAITH
[ADDRESS REDACTED]                         PO BOX 37                                70 WEST 36TH STREET
NORTH FRANKLIN, CT 06254                                                            8TH FLOOR
NEW YORK, NY 10018




SOMERS OIL SERVICE, INC                    SOSTRE, ORIALIS                          SOUCY REMODELING & RENOVATIION, LLC
11 SOUTH ROAD                              [ADDRESS REDACTED]                       DBA SOUCY REMODELING & RENOVATION,
PO BOX 486                                                                          LLC
SOMERS, CT 06071-0486                                                               5 AQUA COURT
NORWICH, CT 06360



SPORTEE'S                                  SR BARBARA GOULD                         SR ELAINE SWEENEY, RSM
262 BOSTON POST ROAD #9                    [ADDRESS REDACTED]                       [ADDRESS REDACTED]
WATERFORD, CT 06385




 SR. BONNIE MORROW, DHS                    SR. ESTALA MOYA SOLANO                   SR. LEIDY CASTILLO
 [ADDRESS REDACTED]                        [ADDRESS REDACTED]                       [ADDRESS REDACTED]
           Case
  SR. MARY ANN   21-20687
               GUERTIN,         Doc
                        ATTN ACCT OFC11     Filed  07/16/21
                                              SR. MARY         Entered 07/16/21 19:21:10
                                                       JUDE LAZARUS                           Page 39 of 50
                                                                                    SR. XINIA RODRIQUEZ
  [ADDRESS REDACTED]                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]




  SS PETER & PAUL CHURCH                      ST JAMES CATHOLIC CHURCH               ST TERESA OF CALCUTTA PARISH
  181 ELIZABETH STREET                        DANIELSONVILLE                         CORPORATION
  NORWICH, CT 06360                           12 FRANKLIN ST.                        48 MIDDLESEX AVE.
  DANIELSONVILLE, CT 06239-3536                                                      CHESTER, CT 06412-1309




  ST THERESE OF LISIEUX CORPORATION           ST. ANDRE BESSETTE PARISH              ST. ANDREW LADIES GUILD
  568 POMFRET ST                              CORPORATION                            C/O ST. ANDREW CHURCH
  PO BOX 665                                  144 WESTMINSTER RD.                    128 NORWICH AVENUE
  PUTNAM, CT 06260                            10 RAILROAD AVE                        COLCHESTER, CT 06415-1269
                                              PLAINFIELD, CT 06374-1215



  ST. ANDREW’S CATHOLIC CHURCH                ST. ANNE CATHOLIC CHURCH               ST. ANNE
  COLCHESTER, CONNECTICUT                     227 BALLOUVILLE RD                     ROUTE 201
  128 NORWICH AVE                             BOX 125                                PO BOX 99
  COLCHESTER, CT 06415-1269                   BALLOUVILLE, CT 06233-0125.            VOLUNTOWN, CT 06384




ST. AUGUSTINE CHURCH CORPORATION              ST. BERNARD CHURCH                     ST. BERNARD SCHOOL
TOWN OF CANTERBURY                            25 ST. BERNARD TERRACE                 1593 NORWICH-NEW LONDON TURNPIKE
144 WESTMINSTER RD                            ROCKVILLE, CT 06066                    UNCASVILLE, CT 06382
CANTERBURY, CT 06331




  ST. BERNARD’S SOCIETY                       ST. BRIDGET PARISH                     ST. BRIDGET’S CHURCH CORPORATION
  25 ST. BERNARD TERRACE                      75 MOODUS-LEESVILLE RD                 OF MOODUS, CONNECTICUT
  ROCKVILLE, CT 06066                         PO BOX 422                             75 MOODUS-LEESVILLE RD
                                              MOODUS, CT 06469                       PO BOX 422
                                                                                     MOODUS, CT 06469-0422



  ST. EDWARD’S CATHOLIC SOCIETY               ST. FRANCIS OF ASSISI                  ST. JOHN PAUL II SCHOOL
  27 CHURCH ST                                10 ELM STREET                          87 SOUTH MAIN STREET
  STAFFORD SPRINGS, CT 06076                  MIDDELTOWN, CT 06457                   MIDDLETOWN, CT 06457




ST. JOHN VIANNEY CENTER                       ST. JOHN’S CHURCH CORPORATION          ST. JOHN’S CORPORATION OF CROMWELL
151 WOODBINE ROAD                             SAYBROOK, CONNECTICUT                  5 ST. JOHN CT.
DOWNINGTOWN, PA 19335-3057                    161 MAIN STREET                        CROMWELL, CT 06416-2118
OLD SAYBROOK, CT 06475




ST. JOHN’S ROMAN CATHOLIC CHURCH          ST. JOSEPH CATHOLIC SOCIETY,        ST. JOSEPH CHURCH
MONTVILLE, CONNECTICUT                    CONNECTICUT                         120 CLIFF STREET
22 MAPLE AVE                              11 BALTIC RD                        NORWICH, CT 06360-5134
UNCASVILLE, CT 06382                      PO BOX 256
                                          NORWICH, CT 06360



ST. JOSEPH PARISH WILLIMANTIC                 ST. JOSEPH SEMINARY                    ST. JOSEPH’S CATH. CONGREGATION
99 JACKSON STREET                             1200 VARNUM STREET NE                  99 JACKSON STREET
WILLIMANTIC, CT 06226                         WASHINGTON, DC 20017                   WILLIMANTIC, CT 06226
          Case
ST. JOSEPH’S     21-20687
             CATHOLIC SOCIETY Doc 11   Filed 07/16/21
                                        ST. JOSEPH’S     Entered
                                                     CHURCH       07/16/21 19:21:10
                                                            CORPORATION                 Page
                                                                               ST. JOSEPH’S   40 ofOF50
                                                                                            CHURCH    ROCKVILLE
P.O. BOX 897                            OF CHESTER, CONNECTICUT                 33 WEST ST
12 MAIN STREET                          48 MIDDLESEX AVENUE                     VERNON, CT 06066
NORTH GROSVENORDALE, CT 06255-0897      CHESTER, CT 06412




ST. JOSEPH’S CORPORATION                ST. JUDE ROMAN CATHOLIC CHURCH          ST. LAWRENCE CHURCH CORP OF
350 HARTFORD PIKE                       CORPORATION OF WILLINGTON               KILLINGWORTH
DAYVILLE, CT 06241                      25 OLD FARMS RD                         7 HEMLOCK DR.
WILIMINGTON, CT 06279-0240                                                      KILLINGSWORTH, CT 06419-2227




ST. LOUIS CONSULTATION CENTER           ST. LUKE CHURCH                         ST. MARK EVANGELICAL LUTHERAN CHURCH
1100 BELLEVUE AVENUE                    141 MAPLE ST                            248 BROADWAY
ST. LOUIS, MO 63117                     PO BOX 246                              NORWICH, CT 06360
ELLINGTON, CT 06029-0246




ST. MARY & ST. JOSEPH CEMETERY          ST. MARY CEMETERY NEW LONDON            ST. MARY CEMETERY PORTLAND
815 BOSWELL AVE                         600 JEFFERSON AVE                       MARLBROUGH ST
NORWICH, CT 06360                       NEW LONDON, CT 06320                    PORTLAND, CT 06480




ST. MARY CHURCH NORWICH                 ST. MARY CHURCH                         ST. MARY CHURCH, PUTNAM
70 CENTRAL AVE                          34 NORTH MAIN STREET                    PROVIDENCE ST
NORWICH, CT 06360                       JEWETT CITY, CT 06531                   PUTNAM, CT 06260




ST. MARY PARISH, CLINTON                ST. MARY, STAR OF THE SEA               ST. MARY’S CATHOLIC CHURCH
54 GROVE STREET                         145 MAIN ST                             SPRAGUE, CONNECTICUT
CLINTON, CT 06413                       UNIONVILLE, CT 06085                    70 W. MAIN ST.
BALTIC, CT 06330-1348




ST. MARY’S CHURCH STONINGTON            ST. MARY’S CHURCH, PUTNAM,              ST. MARY’S PARISH, CONNECTICUT
CONNECTICUT                             CONNECTICUT                             ST. MARY’S CHURCH CORP, CONNECTICUT
22 BROAD STREET,                        218 PROVIDENCE ST.                      70 CENTRAL AVE
STONINGTON, CT 06378                    PUTNAM, CT 06260                        NORWICH, CT 06360




ST. MARY’S ROMAN CATHOLIC CHURCH        ST. MARY’S SOCIETY, CONNECTICUT         ST. MARY'S PRESS
CORP.                                   54 GROVE ST.                            702 TERRACE HEIGHTS
22 BROAD STREET                         CLINTON, CT 06413-1999                  WINONA, MN 55987
STONINGTON, CT 06378




ST. MARY'S, BALTIC                      ST. MARY-ST. JOSEPH SCHOOL              ST. MATTHIAS CHURCH
70 WEST MAIN STREET                     35 VALLEY STREET                        PO BOX 25
BALTIC, CT 06330                        WILLIMANTIC, CT 06226                   EAST LYME, CT 06333-0025




ST. MICHAEL CHURCH                      ST. MICHAEL SCHOOL                      ST. MICHAEL SCHOOL, PAWCATUCK
60 LIBERTY ST                           63 LIBERTY ST                           63 LIBERTY ST
PAWCATUCK, CT 06379                     PAWCATUCK, CT 06379                     PAWCATUCK, CT 06379
           Case
ST. MICHAEL’S CHURCH21-20687      Doc 11   Filed  07/16/21
                                             ST. PATRICK      Entered
                                                         CATHEDRAL     07/16/21 19:21:10
                                                                   SCHOOL                    Page
                                                                                    ST. PATRICK    41 ofUNCASVILLE
                                                                                                CEMETERY 50
60 LIBERTY ST., 06379-1695                   211 BROADWAY                              DEPOT RD
60 LIBERTY STREET                            NORWICH, CT 06360                         UNCASVILLE, CT 06382
PAWCATUCK, CT 06379-1695




ST. PATRICK CHURCH, EAST HAMPTON             ST. PATRICK SCHOOL, NORWICH               ST. PATRICK’S CHURCH CORPORATION OF
47 W HIGH ST                                 211 BROADWAY                              NORWICH, CONNECTICUT
EAST HAMPTON, CT 06424                       NORIWCH, CT 06360                         213 BROADWAY
NORWICH, CT 06360-4307




ST. PATRICK’S CHURCH, MYSTICTIC              ST. PATRICKS CHURCH, EAST HAMPTON         ST. PAUL'S BENEVOLENT INSTITUTE
32 E. MAIN ST                                47 W. HIGH ST                             178 KNOLLWOOD ROAD
MYSTIC BRIDGE, CT 06355-2827                 EAST HAMPTON, CT 06424                    MANCHESTER, CT 06042




ST. PHILIP THE APOSTLE                       ST. PIO PARISH CORPORATION                ST. PIO PARISH
64 POMPEY HOLLOW ROAD                        161 MAIN ST                               355 FOXON ROAD
ASHFORD, CT 06278                            OLD SAYBROOK, CT 06475-2367               80 TAYLOR AVE
EAST HAVEN, CT 06513




ST. STEPHEN’S CHURCH                         ST. STEPHEN'S BASILICA, BUDAPEST          ST. TERESA OF CALCUTTA PARISH
130 OLD TURNPIKE ROAD                        SAS U 13                                  14 PROSPECT ST ESSEX
QUINEBAUG, CT 06262                          BUDAPEST 1051                             ESSEX, CT 06426
HUNGARY




ST. TERESA OF CALCUTTA WOMEN'S GUILD         ST. TERESA OF CALCUTTA                    ST. THERESA GUILD
14 PROSPECT ST ESSEX                         14 PROSPECT ST ESSEX                      14 PROSPECT ST ESSEX
ESSEX, CT 06426                              ESSEX, CT 06426                           ESSEX, CT 06426




ST. THOMAS AQUINAS CHURCH                    ST. THOMAS MORE CHURCH                    ST. THOMAS’ CORPORATION
872 FARMINGTON AVE                           87 MYSTIC ROAD,                           OF VOLUNTOWN, CONNECTICUT
WEST HARTFORD, CT 06119                      NORTH STONINGTON, CT 06359                34 NORTH MAIN STREET
JEWETT CITY, CT 06351




ST. VINCENT DE PAUL PLACE NORWICH            ST. VINCENT DEPAUL PLACE MIDDLETOWN       STADRI EMBLEMS, INC.
120 CLIFF ST                                 617 MAIN ST                               1760 GLASCO TPKE
NORWICH, CT 06360                            MIDDLETOWN, CT 06457                      WOODSTOCK, NY 12498




STANZ, JULIANNE                              STATE ASPHALT SEALING                     STATE OF CONNECTICUT - PAYROLL TAX
[ADDRESS REDACTED]                           PO BOX 222                                450 COLUMBUS BLVD.
NORWICH, CT 06360                                                                      SUITE 1
HARTFORD, CT 06103-1837




STATE OF CONNECTICUT                  STATE OF CT. UNCLAIMED PROPERTY              STEPHANIE GALLOW
CT DEPT OF ADMIN SERVICES             55 ELM STREET                                [ADDRESS REDACTED]
OSBI-BUREAU OF BOILERS                HARTFORD, CT 06106
450 COLUMBUS BLVD, SUITE 1303
HARTFORD, CT 06103
          Case 21-20687
STEVE DONLEY                     Doc 11   Filed 07/16/21
                                           STEVEN MAYNARD Entered 07/16/21 19:21:10      Page 42 of 50
                                                                               STILLY'S AUTOMOTIVE
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   117 S BURNHAM HWY
LISBON, CT 06351




STM EMBROIDERY, LLC                        STOFEGA II, RICHARD E.               STOPPINI GROUP TRAVEL, LLC
290 PRESTON ROAD                           [ADDRESS REDACTED]                   61 DOUGLAS PIKE
GRISWOLD, CT 06351                                                              UXBRIDGE, MA 01569-2116




STUDENT TRANSPORTATION OF AMERICA          SULLIVAN, PAUL J.                    SULPICIAN RETIREMENT FUND
1350 BALDWIN HILL RD                       [ADDRESS REDACTED]                   5408 ROLAND AVENUE
GALES FERRY, CT 06335                                                           BALTIMORE, MD 21210-9972




SUNDAY SERMONS                             SUNSHINE OIL CO.                     SUPERIOR TEXT
POST OFFICE BOX 3102                       220 ROUTE 32                         151 AIRPORT INDUSTRIAL DRIVE
MARGATE, NJ 08402                          UNCASVILLE, CT 06382                 YPSILANTI, MI 48198




SUPERIOR VISION SERVICES, INC.             SURPLUS UNLIMITED, LLC               SUSANNAH SNOWDEN
NGLIC                                      381 WEST MAIN STREET                 [ADDRESS REDACTED]
PO BOX 201839                              NORWICH, CT 06360
DALLAS, TX 75320-1839




SWEENEY, ELAINE M.                         SWEET HARMONY PANIO TUNING SVC       SWIFT RIVER PRODUCTIONS, LLC
[ADDRESS REDACTED]                         405 HARLAND RD                       67 SUMMIT STREET
NORWICH, CT 06360                                                               BELCHERTOWN, MA 01007




SYLVAIN, MARIE                             SZCZAPA, REVEREND STANLEY            TALLY'S
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   1150 PONTIAC AVE
CRANSTON, RI 02920




TARGET INVESTIGATIONS & SURVEILLANCE       TAX & ACCOUNTING                     TEAM RCIA
LLC                                        PO BOX 71687                         277 TRADEWINDS DRIVE 8
PO BOX 149                                 CHICAGO, IL 60694-1687               SAN JOSE, CA 95123-6036
HARTFORD, CT 06101




TED PAPPAGALLO                             THAMES RIVER COMMUNITY SVC. INC,     THE AMERICAN COLLEGE OF LAUVAIN
[ADDRESS REDACTED]                         1 THAMES RIVER PL                    USCCB
NORWICH, CT 06360                                                               3211 3TH STREET N.E.
WASHINGTON, DC 20017




THE ARLINGTON CATHOLIC HERALD              THE BULLETIN                         THE CATHOLIC COMPANY
C/O CATHOLIC DIOCESE OF ARLINGTON          10 RAILROAD PL                       PO BOX 7445
PO BOX 1960                                NORWICH, CT 06360                    CHARLOTTE, NC 28241
MERRFIELD, VA 22116
            Case
  THE CATHOLIC     21-20687
                MUTUAL RELIEF  Doc      11    Filed 07/16/21
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                                                                                                   UNIVERSITY OF AMERICA
  SOCIETY OF AMERICA                           ONE CATHEDRAL SQUARE                    OFC OF ENROLLMENT SVC
  CATHOLIC MUTUAL RELIEF SOCIETY               PROVIDENCE, RI 02903                    MCMAHON HALL RM 10
  10843 OLD MILL RD                                                                    WASHINGTON, DC 20064
  OMAHA, NE 68154



  THE CHURCH OF CHRIST THE KING                THE CHURCH OF OUR LADY PERPETUAL        THE CHURCH OF SAINT SEBASTIAN
  OLD LYME, INCORPORATED                       HELP                                    MIDDLETOWN
  1 MCCURDY ROAD                               63 OLD NORWICH RD                       155 WASHINGTON ST
  OLD LYME, CT 06371-1629                      PO BOX 329                              MIDDLETOWN, CT 06457-2080
                                               QUAKER HILL, CT 06375-0329



  THE CHURCH OF ST. FRANCIS OF ASSISI          THE CONNECTICUT WATER COMPANY           THE CORNERSTONE FOUNDATION
  10 ELM ST                                    93 W MAIN ST                            PO BOX 2036
  MIDDLETOWN, CT 06457-4427                    CLINTON, CT 06413                       15 PROSPECT STREET
                                                                                       ROCKVILLE, CT 06066




 THE DAY                                        THE GRANITE GROUP                       THE HARTFORD COURANT, LLC
 47 EUGENE O'NEIL DRIVE                         PO BOX 2004                             285 BROAD ST
 NEW LONDON, CT 06320                           CONCORD, NH 03302-2004                  HARTFORD, CT 06457




 THE HARTFORD LIFE INS CO.                      THE LEADER STORE                        THE MAIN CONNECTION OF CT
 PO BOX 660916                                  255 CENTRAL AVE                         310 NUTMEG RD S
 DALLAS, TX 75266-0916                          NORWICH, CT 06360                       UNIT D-1
 SOUTH WINDOR, CT 06074




 THE MARIANISTS                                 THE MOST HOLY TRINITY CHURCH            THE NATIONAL CATHOLIC BIOETHICS
 ATTN: SUE MCKAMELY                             568 POMFRET ST.                         CENTER
 4425 WEST PINE BLVD                            POMFRET, CT 06258-0235                  6399 DREXEL RD
 ST. LOUIS, MO 63108-2301                                                               PHILADELPHIA, PA 19151




  THE NORWICH LUMBER CO.                       THE NOTRE DAME CHURCH CORPORATION        THE OUR LADY OF LASALETTE CHURCH
  470 RIVER ROAD                               272 MAIN STREET                          CORP
  LISBON, CT 06351                             DURHAM, CT 06422                         21 PROVIDENCE ROAD
                                                                                        PO BOX 211
                                                                                        BROOKLYN, CT 06234-0211



  THE OUR LADY OF LOURDES CORPORATION          THE OUR LADY OF THE LAKES CHURCH         THE PILOT
  1650 RTE. 12                                 CORP                                     141 TREMONT STREET
  GALES FERRY, CT 06335-1534                   752 NORWICH-SALEM TPKE                   BOTON, MA 02111-1200
                                               OAKDALE, CT 06370-9640




THE POLISH ROMAN CATHOLIC CHURCH OF             THE PONTIFICAL COLLEGE JOSEPHINUM       THE PRINTERY HOUSE
ST. MARY OF CZESTOCHOWA                         7625 N HIGH ST                          PO BOX 12
79 SOUTH MAIN STREET                            COLUMBUS, OH 43235                      CONCEPTION, MO 64433
MIDDLETOWN, CT 06457




THE REARDON LAW FIRM, P.C.              THE RIVERHOUSE AT GOODSPEED STATION          THE ROMAN CATHOLIC CHURCH OF OUR
160 HEMPSTEAD ST                        55 BRIDGE ROAD                               LADY
NEW LONDON, CT 06320                    HADDAM, CT 06438                             OF GRACE AT FISHERS ISLAND
                                                                                     PO BOX 425
                                                                                     ALPINE AVE.
                                                                                     FISHERS ISLAND, NY 06390
THE ROMANCase    21-20687
          CATHOLIC            Doc
                    CHURCH OF ST.     11   Filed 07/16/21
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                                                                                   THE ROMAN     44 ofCHURCH
                                                                                             CATHOLIC   50 OF
MARY                                        PETER                                 JEWETT CITY, CONNECTICUT
80 MAPLE AVENUE                             SAINT PETER CHURCH CORPORATION        34 N. MAIN STREET
WILLIMANTIC, CT 06226                       30 SAINT PETER LANE                   JEWETT CITY, CT 06351
                                            PO BOX 707
                                            HIGGANUM, CT 06441-0707

THE SACRED HEART CHURCH                     THE SACRED HEART CHURCH OF NORWICH    THE SAINT CATHERINE OF SIENA CHURCH
CORPORATION                                 52 WEST TOWN ST                       CORP
56 SACRED HEART DR.                         NORWICH, CT 06360-2296                243 RTE. 164
GROTON, CT 06340-4431                                                             PRESTON, CT 06365-8726




THE SAINT COLMAN CHURCH CORPORATION         THE SAINT COLUMBA CHURCH              THE SAINT FRANCIS OF ASSISI CHURCH
170 HUBBARD STREET                          CORPORATION                           CORPORATION OF LEBANON
MIDDLEFIELD, CT 06455                       328 JCT. OF ROUTES 66 & 87            67 WEST TOWN STREET
                                            PO BOX 146                            LEBANON, CT 06249
                                            COLUMBIA, CT 06237-0146



THE SAINT JOHN’S CHURCH CORPORATION         THE SAINT MARY CHURCH CORPORATION     THE SAINT MATTHEW CHURCH
5 ST. JOHN CT                               69 GROTON LONG POINT RD               CORPORATION
MIDDLETOWN, CT 06416-2118                   GROTON, CT 06340-4806                 216 SCRIBNER AVENUE
                                                                                  NORWALK, CT 06854




THE SAINT PIUS X CHURCH CORPORATION         THE SPA AT NORWICH INN                THE SS PETER AND PAUL CHURCH
310 WESTFIELD ST                            607 WEST THAMES STREET                CORPORATION
MIDDLETOWN, CT 06457-2080                   NORWICH, CT 06360                     181 ELIZABETH ST.
NORWICH, CT 06360-6199




THE ST IGNATIUS’ CHURCH CORP OF             THE ST JOSEPHS CHURCH CORP OF NEW    THE ST LUKE’S ROMAN CATHOLIC CHURCH
GOODYEAR                                    LONDON                               CORP
21 WILLIAMSVILLE RD                         37 SQUIRE ST                         141 MAPLE ST
ROGERS, CT 06263                            NEW LONDON, CT 06320-4891            PO BOX 246
                                                                                 ELLINGTON, CT 06029-0246



THE ST MARK’S ROMAN CATHOLIC CHURCH         THE ST. AGNES CHURCH CORPORATION     THE ST. JOHN’S CHURCH OF PLAINFIELD
CORP                                        22 HAIGH AVE                         10 RAILROAD AVENUE
500 WIGWAM LANE                             NIANTIC, CT 06357-3129               PLAINFIELD, CT 06374
STRATFORD, CT 06614




THE ST. JOSEPH’S POLISH                     THE ST. MARY’S CHURCH CORPORATION     THE ST. MATTHIAS’ CHURCH CORPORATION
ROMAN CATHOLIC CONGREGATION                 OF SOUTH COVENTRY                     317 CHESTERFIELD ROAD
120 CLIFF ST.                               1600 MAIN ST                          EAST LYNE, CT 06333
NORWICH, CT 06360                           COVENTRY, CT 06238




THE ST. MAURICE CHURCH CORPORATION          THE ST. PAUL CATHOLIC CHURCH          THE ST. PHILIP’S CHURCH
32 HEBRON RD.                               CORPORATION                           CORPORATION OF WARRENVILLE
BOLTON, CT 06043-7606                       170 ROPE FERRY RD                     64 POMPEY HOLLOW RD
WATERFORD, CT 06385-2609                                                          ASHFORD, CT 06278




THE ST. THOMAS AQUINAS CHAPEL CORP          THE TRAVELERS INDEMNITY CO.           THE TRAVELERS INDEMNITY CO.
46 N EAGLEVILLE ROAD                        BROKER: RSC INS BROKERAGE INC,        ONE TOWN SQUARE
STORRS, CT 06268                            70 ESSEX ROAD,                        HARTFORD, CT 06183
WESTBROOK, CT 06498
           Case 21-20687
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                                        THERESA S. SALAFIA
                                                                                    Page 45 of 50
                                                                           THIRD COAST ARTIST AGENCY, INC.
9639 DRIVE                              [ADDRESS REDACTED]                    2021 21ST AVENUE SOUTH
PERRY ROAD #126N                                                              SUITE 220
JAMESVILLE, MD 21754                                                          NASHVILLE, TN 37212




THIRTY MARKETING                        THOMAS AQUINAS CHURCH                 THOMAS CASEY
PO BOX 631                              1719 POST RD                          [ADDRESS REDACTED]
GALES FERRY, CT 06335-0631              FAIRFIELD, CT 06824




THOMAS DZIMIAN                          THOMAS GOLDEN                         THOMAS P. DOYLE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




THOMAS SENNICK                          THOMSON REUTERS                       TOM CARPARELLI
[ADDRESS REDACTED]                      PO BOX 71687                          [ADDRESS REDACTED]
CHICAGO, IL 60694-1687




TONY & MARLEN BENITEZ                   TOPOLSKA, CHRISTINE                   TORRES, MAYCE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




TORRES, ZULIEKA                         TOSCANO & ASSOCIATES                  TOTALLY CATHOLIC FUNDRAISING
[ADDRESS REDACTED]                      25 PINELOCK DRIVE                     PO BOX 1730
GALES FERRY, CT 06335                                                         EAGLE, ID 83616




TOWN & COUNTRY DISCOUNT OIL             TOWN OF CHARLESTOWN                   TOWN OF KILLINGLY
7 PRESTON CITY RD                       CHARLESTOWN TOWN HALL                 172 MAIN STREET
VOLUNTOWN, CT 06384                     4540 SOUTH COUNTY TRAIL               KILLINGLY, CT 06239
CHARLESTOWN, RI 02813




TOWN OF WINDHAM                         TRACY MCHUGH                          TRIBUNAL SYSTEMS, INC.
PO BOX 257                              [ADDRESS REDACTED]                    16436 N. 41ST PLACE
WILLIMANTIC, CT 06226-0257                                                    PHOENIX, AZ 85032




TRI-COUNTY MEMORIALS                    TRUGREEN                              TUMICKI, REV. TED
402 W MAIN ST                           89 OLD FORGE ROAD                     [ADDRESS REDACTED]
NORWICH, CT 06360                       ROCK HILL, CT 06067




U. S. CATHOLIC                          U.S. BANK EQUIPMENT FINANCE           UNDERHILL, SUSAN
CLARETIAN PUBLICATIONS                  PO BOX 790448                         [ADDRESS REDACTED]
PO BOX 1021                             ST. LOUIS, MO 63179-0448
SKOKIE, IL 60076-8021
            CaseINC.
UNITED SERVICES,   21-20687     Doc 11   Filed 07/16/21
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                                                  WE STAND LLC                   UNUM LIFEPage  46 ofCO.
                                                                                           INSURANCE  50OF AMERICA
PO BOX 839                                PO BOX 237                              PO BOX 630581
1007 NORTH MAIN STREET                    DAYVILLE, CT 06241                      ATLANTA, GA 30353-0581
DAYVILLE, CT 06241




US BANK EQUIPMENT FINANCE                 US DEPARTMENT OF JUSTICE                USA BUS CHARTER, INC
1310 MADRID STREET, SUITE 101             950 PENNSYLVANIA AVENUE NW              2647 GATEWAY ROAD
MARSHALL, MN 56258-4002                   WASHINGTON, DC 20530-0001               SUITE 105-455
CARLSBAD, CA 09209




USA DOLLAR PLUS                           USCCB V NATIONAL ENCUENTRO              USCCB
680 BOSWELL AVENUE                        3211 FOURTH STREET NE                   3211 FOURTH STREET, NE
NORWICH, CT 06360                         WASHINGTON, DC 20017-1194               WASHINGTON, DC 20017-1194




USI CONSULTING GROUP                      V ENCUENTRO/USCCB HISPANIC AFFAIRS      VALENTINE MEDIA
95 GLASTONBURY BLVD                       ATTN: DIOCESAN VIRTUAL IN-SERVICE       [ADDRESS REDACTED]
#102                                      3211 4TH STREET, NE
GLASTONBURY, CT 06033                     WASHINGTON, DC 20017




VALLIMAR-JANSEN                           VALORA TECHNOLOGIES, INC.               VASILOFF STAINED GLASS LLC
[ADDRESS REDACTED]                        101 GREAT ROAD                          DBA VASILOFF STAINED GLASS LLC
SUITE 220                                                                         4-1 CRAIG ROAD
BEDFORD, MA 01730                                                                 OLD LYME, CT 06371




VERNON WPCA                               VERNOTT, MEREDITH                       VERY REV. BERNIE HEALEY
PO BOX 147                                [ADDRESS REDACTED]                      [ADDRESS REDACTED]
VERNON, CT 06066




VERY REV. DAVID CHOQUETTE                 VETERANS MEMORIAL SCHOOL                VIANNEY VOCATIONS, LLC
[ADDRESS REDACTED]                        80 CROUCH AVE                           3425 BANNERMAN ROAD
NORWICH, CT 06360                                                                 SUITE 105
TALLAHASSEE, FL 32312




VIDEO & VISION MULTIMEDIA PRODUCTIONS     VIENS, BIANCA                           VIKING FUEL CO.
654 THAMES STREET                         [ADDRESS REDACTED]                      80 NORTH MAIN STREET
NEWPORT, RI 02840                                                                 NORWICH, CT 06360




VILLARREAL, GINO                          VINCENT FLYNN                           VINCENT SYLVESTRE
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




VIOLETA CHAN-SCOTT                        VIRGINIA ROMERO-CARON                   VITAL SOURCES INTERNSHIP
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      10 N JEFFERSON STREET
STE 403
FREDRICK, MD 21701-4823
          Case
VITAL SOURCES,   21-20687
               LLC          Doc 11   Filed 07/16/21
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                                                          FUND, LLC                    Page 47
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                                                                                               TECHNOLOGIES
116 RECORD STREET                     467 BLOOMFIELD AVENUE                   262 ELLINGTON ROAD
FREDERICK, MD 217015418               BLOOMFIELD, CT 06002                    SOUTH WINDSOR, CT 06074




W. M. BARR                            W.B. MASON COMPANY, INC                 WALDNER, JAMES
ATTN: TECH. CUSTOMER SVC              43 STOTT AVENUE                         [ADDRESS REDACTED]
PO BOX 1682                           NORWICH, CR 06360
MEMPHIS, TN 38101-9919




WALLACE, DEBORAH SUSAN                WALSH, REV. KEVIN                       WALSKI SUPPLY CO., INC.
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      15 WAWECUS STREET
NORWICH, CT 06360




WANNEMUEHLER, SARAH                   WATER FOR LIFE                          WATER'S EDGE RESORT & SPA
[ADDRESS REDACTED]                    CRS                                     1525 BOSTON POST RD
228 W LEXINGTON STREET                                                        WESTBROOK, CT 06498
BALTIMORE, MD 21201




WAY, JULIE                            WAYE, AVRIL                             WEALTHENGINE, INC.
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      4330 EAST WEST HIGHWAY
BETHESDA, MD 20814




WEARECATHOLIC.COM                     WEB4U                                   WENDY BEAUCHENE
229 NORTH RACE STREET                 105 WHISPER TRACE                       215C DOYAL ROAD
MIDDLETOWN, PA 17057                  PEACHTREE CITY, GA 30269                OAKDALE, CT 06370




WESLEYAN UNIVERSITY                   WESLEYAN UNIVERSITY                     WEST, JANET
291 MAIN STREET                       45 WYLLYS AVE                           [ADDRESS REDACTED]
ROOM 310                              MIDDLETOWN, CT 06459
MIDDLETOWN, CT 06457




WESTFALL SPEAKERS, LLC                WESTFORD REAL ESTATE MANGEMENT LLC      WHITE, CORETHA VANESSA
277 MALLORY STATION RD.               348 HARTFORD TURNPIKE                   821 MACARTHUR DRIVE
#130                                  SUITE 200                               CHICAGO HEIGHT, IL 60411
FRANKLIN, TN 37064                    VERNON, CT 06066




WHITE, MICHAEL J.                     WILI & WILI FM                          WILI AM & WILI FM
[ADDRESS REDACTED]                    40 CUPRAK ROAD                          [ADDRESS REDACTED]
NORWICH, CT 06360




WILI AM & WILI FM                     WILLIAM B. BARR, PH.D.                  WILLIAM H. SADLIER, INC
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      PO BOX 5685
HICKSVILLE, NY 11802-5685
Case 21-20687        Doc 11   Filed 07/16/21   Entered 07/16/21 19:21:10   Page 48 of 50



 WILLIAM HERRMANN                         WILLIAM R. WATSON, JR.              WILLIAMSVILLE
 FIRE DISTRICT
 [ADDRESS REDACTED]                       [ADDRESS REDACTED]                  PO BOX 141
 ROGERS, CT 06263




 WILLIMANTIC WASTE PAPER                  WILLSON, KATHERINE                  WINDHAM
 REVENUE DEPARTMENT
 PO BOX 239                               [ADDRESS REDACTED]                  979 MAIN
 STREET
 WILLIMANTIC, CT 06226                                                        WILLIMANTIC,
 CT 06226




 WISNESKI, REV EDWARD J.                  WITHERUP, REV. RONALD               WORKFORCE
 PLANNING ASSOCIATES, INC.
 [ADDRESS REDACTED]                       [ADDRESS REDACTED]                  95 RIMFIELD
 DRIVE
 SOUTH WINDSOR, CT 06074




 WYNN, MARIE                              XAVIER HIGH SCHOOL                  XGLANKER
 BROWN, PLLC
 [ADDRESS REDACTED]                       181 RANDOLPH ST.                    ONE
 COMMERCE SQUARE
 MIDDLETOWN, CT 06547                                                         SEVENTEENTH
 FLOOR
 MEMPHIS, TN 38103-2566




 XTREME IMPACT, INC.                      YANOVITCH, HEATHER J.               YANTIC RIVER
 AUTO SUPPLY
 49 JOHN STREET                           [ADDRESS REDACTED]                  400 WEST
 THAMES STREET
 WALLINGFORD, CT 06492                                                        NORWICH, CT
 06360




 YOFM                                     YP                                  ZACHARY
 JANOWSKI
 PO BOX 110                               PO BOX 5010                         [ADDRESS
 REDACTED]
 ENFIELD, CT 06083                        CAROL STREAM, IL 60197-5010




 ZAMPINI, TERESA                          ZURICH NORTH AMERICA                ZURICH NORTH
 AMERICA
 [ADDRESS REDACTED]                       1299 ZURICH WAY                     FIRST
 CANADIAN PLACE 100 HIGH STREET
 SCHAUMBURG, IL 60196-1056                                                    #14
 BOSTON, MA 02110




 Total: 1401
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 Dated: July 15, 2021



                                               /s/ Patrick M. Birney
                                               Patrick M. Birney (CT No. 19875)
                                               Andrew A. DePeau (CT No. 30051)
                                               Annecca H. Smith (pro hac vice pending)
                                               ROBINSON & COLE LLP
                                               280 Trumbull Street
                                               Hartford, CT 06103
                                               Telephone: (860) 275-8275
                                               Facsimile: (860) 275-8299
                                               E-mail: pbirney@rc.com
                                                        adepeau@rc.com
                                                        asmith@rc.com

                                               Louis T. DeLucia (pro hac vice pending)
                                               Alyson M. Fiedler (pro hac vice pending)
                                               ICE MILLER LLP
                                               1500 Broadway, 29th Floor
                                               New York, NY 10036
                                               Telephone: (212) 824-4940
                                               Facsimile: (212) 824-4982
                                               E-Mail: louis.delucia@icemiller.com
                                                        alyson.fiedler@icemiller.com

                                               Proposed Counsel to the Debtor
                                               and Debtor-in-Possession
Case 21-20687      Doc 11     Filed 07/16/21      Entered 07/16/21 19:21:10         Page 50 of 50




                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 16, 2021, a copy of the foregoing motion and the exhibits
 thereto were filed electronically and shall be served as required by Local Bankruptcy Rule 9013-
 2(b), with notice of this filing being sent by email to all Notice Parties by operation of the court’s
 electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the
 Notice of Electronic Filing. Parties in interest may access this document through the court’s
 CM/ECF System.

                                                       /s/ Patrick M. Birney
                                                       Patrick M. Birney
